       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 1 of 130



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                   §        Chapter 11
                                                         §
CORE SCIENTIFIC, INC., et al.,                           §        Case No. 22-90341 (DRJ)
                                                         §
                    Debtors. 1                           §        (Jointly Administered)


    GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY, AND
     DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Core Scientific, Inc. and its debtor affiliates, as debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors” or the “Company”), with the
assistance of their advisors, are filing their Schedules of Assets and Liabilities (collectively,
the “Schedules”) and Statements of Financial Affairs (collectively, the “Statements” or
“SOFAs” and, together with the Schedules, the “Schedules and Statements”) in the United
States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) pursuant
to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007
of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(collectively, the “Global Notes”) pertain to, are incorporated by reference in, and comprise an
integral part of all of the Debtors’ Schedules and Statements. The Global Notes should be
referred to, considered, and reviewed in connection with any review of the Schedules and
Statements. These Global Notes are in addition to any specific notes contained in any individual
Debtor’s Schedules and Statements (together with the Global Notes, the “Notes”).

         The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of the Debtors.
Additionally, the Schedules and Statements contain unaudited information that is subject to
further review and potential adjustment and reflect the Debtors’ commercially reasonable
efforts to report the assets and liabilities of the Debtors.

        The Schedules and Statements and Global Notes should not be relied upon for
information relating to the current or future financial conditions, events, or performance of any
of the Debtors.


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific
    Acquired Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core
    Scientific Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard
    Capital LLC (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American
    Property Acquisitions, VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton
    Springs Road, Suite 300, Austin, Texas 78704.


                                                        Page 1
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 2 of 130



        The Debtors and their agents, attorneys, and financial advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided herein and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially
reasonable efforts have been made to provide accurate and complete information herein,
inadvertent errors or omissions may exist. The Debtors and their agents, attorneys, and
financial advisors expressly do not undertake any obligation to update, modify, revise, or re-
categorize the information provided herein, or to notify any third party should the information
be updated, modified, revised, or re-categorized. In no event shall the Debtors or their agents,
attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors
or their agents, attorneys, and financial advisors are advised of the possibility of such damages.

       The Schedules and Statements for the Debtors have been signed by Michael Bros, who
serves as the Debtors’ Senior Vice President of Capital Markets & Acquisitions and is an
authorized signatory of the Debtors. In reviewing and signing the Schedules and Statements,
Mr. Bros has relied upon the efforts, statements, and representations of various personnel
employed by the Debtors’ and their advisors, including the management team. Mr. Bros has
not (and could not have) personally verified the accuracy of each statement and representation
contained in the Schedules and Statements, including statements and representations
concerning amounts owed to creditors, classification of such amounts, and creditor addresses.

                             Global Notes and Overview of Methodology

1.      Reservation of Rights. Reasonable efforts have been made to prepare and file complete
        and accurate Schedules and Statements; however, inadvertent errors or omissions may
        exist. The Debtors reserve all rights to (i) amend or supplement the Schedules and
        Statements from time to time, in all respects, as may be necessary or appropriate,
        including, without limitation, the right to amend the Schedules and Statements with
        respect to the description or designation of any claim (“Claim”) or the particular
        Debtor(s) against which the Claim is asserted; (ii) dispute or otherwise assert offsets or
        defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
        priority, status, or classification; and (iii) designate subsequently any Claim as
        “disputed,” “contingent,” or “unliquidated;” or (iv) object to the extent, validity,
        enforceability, priority, or avoidability of any Claim.

        Any failure to designate a Claim in the Schedules and Statements as “disputed,”
        “contingent,” or “unliquidated” does not constitute an admission by the Debtors that
        such Claim or amount is not “disputed,” “contingent,” or “unliquidated,” or that such
        Claim is not subject to objection. The Debtors reserve all of their rights to dispute, or
        assert offsets or defenses to, any Claim reflected on their Schedules and Statements on
        any grounds, including, but not limited to, amount, liability, priority, status, or
        classification. Additionally, the Debtors expressly reserve all of their rights to designate
        such Claims as “disputed,” “contingent,” or “unliquidated” at a later date. Moreover,
        listing a Claim does not constitute an admission of liability by the Debtors against which
        the Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
        Schedules and Statements or Notes shall constitute a waiver of rights with respect to the
        Debtors’ chapter 11 cases, including, without limitation, issues involving Claims,


                                                Page 2
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 3 of 130



      substantive consolidation, defenses, equitable subordination, and/or causes of action
      arising under chapter 5 of the Bankruptcy Code and any applicable non-bankruptcy laws
      to recover assets or avoid transfers.

      Any specific reservation of rights contained elsewhere in the Global Notes does not
      limit in any respect the general reservation of rights contained in this paragraph 1.

      The Debtors shall not be required to update the Schedules and Statements except as may
      be required by applicable law.

2.    Contingent Claim. A claim that is dependent on the realization of some uncertain
      future event is a “contingent” claim.

3.    Unliquidated Claim. A claim, or portion of a claim, for which a specific value could
      not be readily quantified by the Debtors using currently available information are
      scheduled as “unliquidated.”

4.    Disputed Claim. A claim with respect to which the applicable Debtor and the claimant
      disagree as to the amount owed, whether any amount is owed, or the claim classification,
      is “disputed.”

5.    Description of the Case. On December 21, 2022 (the “Petition Date”), the Debtors
      filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the
      Bankruptcy Court. The Debtors continue to operate their business and manage their
      properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
      Bankruptcy Code.

      The Debtors’ chapter 11 cases are being jointly administered pursuant to Bankruptcy
      Rule 1015(b) and Rule 1015-1 of the Local Bankruptcy Rules for the United States
      Bankruptcy Court for the Southern District of Texas.

      On January 9, 2023, the United States Trustee for Region 7 (the “U.S. Trustee”)
      appointed an official committee of unsecured creditors (the “Creditors’ Committee”)
      in these chapter 11 cases pursuant to section 1102 of the Bankruptcy Code. No trustee
      or examiner has been appointed in these chapter 11 cases.

6.    Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
      consolidated financial statements, which include information for Core Scientific, Inc.
      and its Debtor and non-Debtor affiliates. The Schedules and Statements are unaudited
      and reflect the Debtors’ reasonable efforts to report certain financial information of the
      Debtors on an unconsolidated basis.

      As more fully described in the Declaration of Michael Bros in Support of the Debtors’
      Chapter 11 Petitions and First Day Relief (Docket No. 5) (the “First Day
      Declaration”), on December 13, 2017, MineCo Holdings, Inc. was incorporated and,
      six months later, it changed its name to Core Scientific, Inc. (“Initial Core Scientific”).
      In January 19, 2022, pursuant to a “SPAC merger,” (i) Initial Core Scientific changed
      its name to Core Scientific Operating Company (“Core Operating”) and (ii) Power &
      Digital Infrastructure Acquisition Corp. changed its name to Core Scientific, Inc.
      Consequently, certain assets or liabilities attributed in the Debtors’ books and records
      to “Core Scientific, Inc.” are actually assets and liabilities of Core Operating,
      particularly those assets and liabilities pre-dating January 19, 2022. The Debtors and


                                             Page 3
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 4 of 130



      their advisors have used reasonable efforts to attribute assets and liabilities to the proper
      Debtor entity but, to the extent more information becomes available, the Debtors reserve
      the right to amend these Schedules and Statements accordingly. Further, nothing herein
      shall constitute an admission that a particular asset or liability is property attributable to
      a particular Debtor. In certain circumstances, the entity that is party to a contract located
      in the Company’s books and records has been dissolved. Such contracts have been
      listed on the applicable Schedule for the Debtor entity making payments associated with
      such contract; this shall not constitute an admission that the Debtor making such
      payments is party to, or liable on, such contract.

      These Schedules and Statements do not purport to represent financial statements
      prepared in accordance with GAAP, nor are they intended to fully reconcile to the
      financial statements prepared by the Debtors. These Schedules and Statements reflect
      the assets and liabilities of each separate Debtor, except where otherwise indicated. The
      Debtors used reasonable efforts to attribute the assets and liabilities, certain required
      financial information, and various cash disbursements to each particular Debtor entity.
      Information contained in the Schedules and Statements has been derived from the
      Debtors’ books and records and historical financial statements. The Company accounts
      for its crypto currency assets at acquisition fair value, net of recognized impairment
      losses. The Debtors reserve all rights to supplement and amend the Schedules and
      Statements in this regard, including with respect to reallocation of assets or liabilities to
      any particular entity.

      Given, among other things, the uncertainty surrounding the collection and ownership of
      certain assets and the valuation and nature of certain liabilities, to the extent that a
      Debtor’s assets exceed its liabilities, this is not an admission that the Debtor was solvent
      as of the Petition Date or at any time prior to the Petition Date. Likewise, to the extent
      a Debtor’s liabilities exceed its assets, this is not an admission that the Debtor was
      insolvent as of the Petition Date or any time prior to the Petition Date.

7.    “As Of” Information Date. All asset information, and all liability information, except
      where otherwise noted, is reflected as of the close of business on the Petition Date. All
      year-to-date 2022 revenue is reflected as of December 21, 2022. The Schedules and
      Statements reflect the Debtors’ best effort to allocate the assets, liabilities, receipts, and
      expenses to the appropriate Debtor entity “as of” such dates. In certain instances, the
      Debtors may have used estimates or pro-rated amounts where actual data as of the
      aforementioned dates was not available.

8.    Accuracy. The financial information disclosed herein was not prepared in accordance
      with federal or state securities laws or other applicable non-bankruptcy law or in lieu of
      complying with any periodic reporting requirements thereunder. Persons and entities
      trading in or otherwise purchasing, selling, or transferring the Claims against or equity
      interests in the Debtors should evaluate this financial information in light of the
      purposes for which it was prepared. The Debtors are not liable for and undertake no
      responsibility to indicate variations from securities laws or for any evaluations of the
      Debtors based on this financial information or any other information.

9.    Current Market Value and Net Book Value. Unless otherwise indicated, the
      Schedules and Statements reflect net book values (“NBV”), rather than current market
      values, and may not reflect net realizable value. For this reason, amounts ultimately
      realized will vary, potentially materially, from NBV. Additionally, the amount of


                                              Page 4
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 5 of 130



       certain assets and liabilities may be undetermined, and, thus, ultimate assets and
       liabilities may differ materially from those stated in the Schedules and Statements.
       Values listed in these Schedules and Statements should not solely be used to determine
       the Debtors’ enterprise valuation.

       Operating cash is presented as bank balances as of the Petition Date. Certain other
       assets, such as investments in subsidiaries, are listed at undetermined amounts, as the
       net book values may differ materially from fair market values. Amounts ultimately
       realized may vary from net book value (or whatever value was ascribed) and such
       variance may be material. Accordingly, the Debtors reserve all of their rights to amend
       or adjust the value of each asset set forth herein. In addition, the amounts shown for
       total liabilities exclude items identified as unknown or undetermined and, thus, ultimate
       liabilities may differ materially from those stated in the Schedules and Statements.

       The Debtors account for digital currency assets as intangible assets with indefinite
       useful lives. The Debtors initially recognize digital currency assets that are received as
       digital asset mining income based on the fair value of the digital currency assets when
       mined. Digital currency assets that are purchased in an exchange of one digital currency
       asset for another digital currency asset are recognized at the fair value of the digital
       currency asset received. During the period they are held, digital currency assets are
       impaired for a loss to the lowest observed exchange price, to date, in their primary
       market. The Debtors recognize realized gains or losses when digital currency assets are
       sold in an exchange for other digital currency assets or for cash using a first-in first-out
       method of accounting at the entity level.

       The Debtors do not amortize goodwill but test it for impairment annually or more
       frequently if events or changes in circumstances indicate that the carrying value of
       goodwill may not be recoverable. During the year ended December 31, 2022, the
       Debtors impaired all $1.05 billion of their previously acquired goodwill.

10.    Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
       postpetition periods based on the information and research conducted in connection with
       the preparation of the Schedules and Statements. As additional information becomes
       available and further research is conducted, the allocation of liabilities between the
       prepetition and postpetition periods may change. Accordingly, the Debtors reserve all
       of their rights to amend, supplement, or otherwise modify the Schedules and Statements,
       as is necessary or appropriate.

       The liabilities listed on the Schedules do not reflect all possible Claims under section
       503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights
       to dispute or challenge the validity of any Claims asserted under section 503(b)(9) of
       the Bankruptcy Code or the characterization of the structure of any such transaction or
       any document or instrument related to any creditor’s Claim. Although there are multiple
       holders of debt under the Debtors’ prepetition funded indebtedness, only the
       administrative agent(s), indenture trustee(s), or similar representative(s), as applicable,
       have been listed in the Schedules.

11.    Classification and Recharacterization. Listing (i) a Claim on Schedule D as
       “secured,” (ii) a Claim on Schedule E/F as “priority,” (iii) a Claim on Schedule E/F as
       “unsecured,” or (iv) a contract or lease on Schedule G as “executory” or “unexpired,”
       does not constitute an admission by the Debtors of the legal rights of the claimant or a


                                              Page 5
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 6 of 130



       waiver of the Debtors’ rights to re-characterize or reclassify such Claims, contracts, or
       leases or to setoff such Claims. Notwithstanding the Debtors’ commercially reasonable
       efforts to characterize, classify, categorize, or designate properly certain Claims, assets,
       executory contracts, unexpired leases, and other items reported in the Schedules and
       Statements, the Debtors may nevertheless have improperly characterized, classified,
       categorized, designated, or omitted certain items due to the complexity and size of the
       Debtors’ business. Accordingly, the Debtors reserve all of their rights to re-
       characterize, reclassify, re-categorize, re-designate, add, or delete items reported in the
       Schedules and Statements at a later time as is necessary or appropriate as additional
       information becomes available, including, without limitation, whether contracts or
       leases listed herein were deemed executory or unexpired as of the Petition Date and
       remain executory and unexpired postpetition. Disclosure of information in one or more
       Schedules, one or more Statements, or one or more exhibits or attachments to the
       Schedule and Statements, even if incorrectly placed, shall be deemed to be disclosed in
       the correct Schedules, Statements, exhibits or attachments.

       Moreover, nothing in the Schedules and Statements is, or shall be construed to be, an
       admission as to the determination of the legal status of any lease or financing
       arrangement (including whether any lease or financing arrangement is a true lease, a
       financing arrangement or a real property interest), and the Debtors reserve all rights with
       respect to such issues.

12.    Excluded Assets and Liabilities. The Debtors have excluded certain categories of
       assets, tax accruals, and liabilities from the Schedules and Statements, including,
       without limitation, accrued salaries, employee benefit accruals, and accrued accounts
       payable. The Debtors have also excluded rejection damage Claims of counterparties to
       executory contracts and unexpired leases that may or may not be rejected, to the extent
       such damage Claims exist. In addition, certain immaterial assets and liabilities may
       have been excluded.

13.    Bankruptcy Court Orders. Pursuant to certain orders of the Bankruptcy Court entered
       in the Debtors’ chapter 11 cases (the “First Day Orders”), the Debtors were authorized
       (but not directed) to pay, among other things, certain prepetition claims of their
       employees, taxing authorities, insurers, critical vendors, and certain other prepetition
       creditors. Accordingly, these liabilities will have been or may be satisfied in accordance
       with such orders and therefore generally are not listed in the Schedules and Statements.

14.    Zero Dollar Amounts.         Amounts listed as zero are either $0, unliquidated, or
       undetermined.

15.    Summary of Amounts and Claims Reporting Policies. The following is a summary
       of significant reporting policies:

       •      Undetermined and Unknown Amounts. The description of an amount as
              “undetermined” or “unknown” is not intended to reflect upon the materiality of
              such amount.

       •      Totals. All totals that are included in the Schedules and Statements represent
              totals of all the known amounts included in the Schedules and Statements. To
              the extent there are unknown or undetermined amounts, the actual total may be
              different than the total listed.


                                              Page 6
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 7 of 130




       •      Paid Claims. The Debtors were authorized (but not directed) to pay certain
              outstanding prepetition claims pursuant to various First Day Orders entered by
              the Bankruptcy Court. The Debtors reserve all of their rights to amend or
              supplement the Schedules and Statements or take other action as is necessary or
              appropriate to avoid overpayment of, or duplicate payments for, any such
              liabilities.

       •      Liens. Property and equipment listed in the Schedules and Statements are
              presented without consideration of any liens that may attach (or have attached)
              to such property and equipment.

16.    Intellectual Property Rights. Exclusion of certain intellectual property should not be
       construed to be an admission that such intellectual property rights have been abandoned,
       have been terminated or otherwise have expired by their terms, or have been assigned
       or otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
       inclusion of certain intellectual property should not be construed to be an admission that
       such intellectual property rights have not been abandoned, have not been terminated or
       otherwise expired by their terms, or have not been assigned or otherwise transferred
       pursuant to a sale, acquisition, or other transaction. The Debtors have made every effort
       to attribute intellectual property to the rightful Debtor owner; however, in some
       instances, intellectual property owned by one Debtor may, in fact, be owned by another.
       Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
       and all intellectual property rights.

17.    Executory Contracts. Although diligent efforts have been made to reflect each
       Debtor’s executory contracts on Schedule G accurately, inadvertent errors, omissions,
       or over-inclusions may have occurred. Certain information, such as the contact
       information of the counterparty, may not be included where such information could not
       be obtained using the Debtors’ reasonable efforts. Listing a contract or agreement on
       Schedule G does not constitute an admission that such contract or agreement is an
       executory contract or that such contract or agreement was in effect on the Petition Date
       or is valid or enforceable. The Debtors do not make, and specifically disclaim, any
       representation or warranty as to the completeness or accuracy of the information set
       forth on Schedule G.

       Although the Debtors made diligent attempts to attribute an executory contract to its
       rightful Debtor, in certain instances, the Debtors may have inadvertently failed to do so.
       Accordingly, the Debtors reserve all of their rights with respect to the named parties to
       any and all executory contracts, including the right to amend Schedule G.

       The Debtors reserve all their rights, Claims, and causes of action with respect to the
       executory contracts, including the right to dispute or challenge the characterization of
       any contract on Schedule G as executory or the structure of any transaction or any
       document or instrument related to a creditor’s Claim.

18.    Leases. The Debtors may enter into agreements titled as leases for equipment or other
       real property interests. The underlying lease agreements are set forth in the Schedules
       and Statements in Schedule G.

       Although diligent efforts have been made to accurately reflect each Debtor’s unexpired


                                              Page 7
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 8 of 130



       leases on Schedule G, inadvertent errors, omissions, or over-inclusions may have
       occurred. Certain information, such as the contact information of the counterparty, may
       not be included where such information could not be obtained using the Debtors’
       reasonable efforts. Listing a lease on Schedule G does not constitute an admission that
       such lease is a true unexpired lease or that such lease was in effect on the Petition Date
       or is valid or enforceable. The Debtors do not make, and specifically disclaim, any
       representation or warranty as to the completeness or accuracy of the information set
       forth on Schedule G.

       Nothing in the Schedules and Statements is, or shall be construed to be, an admission
       as to the determination of the legal status of any lease (including whether any lease is a
       true lease, a financing arrangement or a real property interest), and the Debtors reserve
       all rights with respect to such issues.

19.    Liens and Mechanic Liens. Property and equipment listed in the Schedules and
       Statements are presented without consideration of any liens, including any asserted
       mechanics’, materialmen, or similar liens that may attach (or have attached) to such
       property and equipment. Nothing in the Schedules and Statements is or should be
       construed as an admission as to the determination of the legal status of any liens, and
       the Debtors reserve all rights with respect to same.

20.    Owned Property and Equipment. Unless otherwise indicated, owned property
       (including real property) and equipment are stated at net book value. The Debtors here
       by reserve all of their rights to sell or lease any property. The Debtors reserve their
       rights to lease furniture, fixtures, and equipment from certain third party lessors.

21.    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

22.    Contingent Assets. Prior to the relevant Petition Date, each Debtor, as plaintiff, may
       have commenced various lawsuits in the ordinary course of its business against third
       parties seeking monetary damages. Each Debtor’s Schedule A/B, Question 74 contains
       a listing of these actions, as applicable.

23.    Litigation. Certain litigation actions (collectively, the “Litigation Actions”) reflected
       as Claims against a particular Debtor may relate to one or more of the Debtors. The
       Debtors made reasonable efforts to record accurately the Litigation Actions in the
       Schedules and Statements of the Debtor that is the party to the Litigation Action. The
       inclusion of any Litigation Action in the Schedules and Statements does not constitute
       an admission by the Debtors of liability, the validity of any Litigation Action, or the
       amount and treatment of any potential Claim that may result from any Litigation Action
       currently pending or that may arise in the future. As the Debtors continue to operate
       their business, additional Litigation Actions may arise as a result thereof. Accordingly,
       the Debtors reserve all rights to amend, supplement, or otherwise modify the Schedules
       and Statements, as is necessary or appropriate.

24.    Causes of Action. Despite making commercially reasonable efforts to identify all
       known assets, the Debtors may not have listed all of their causes of action or potential
       causes of action against third parties as assets in the Schedules and Statements,
       including, without limitation, causes of actions arising under the provisions of chapter
       5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets
       or avoid transfers. The Debtors reserve all of their rights with respect to any cause of


                                             Page 8
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 9 of 130



       action (including avoidance actions), controversy, right of setoff, cross-claim,
       counterclaim, or recoupment and any Claim on contracts or for breaches of duties
       imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
       obligation, liability, damage, judgment, account, defense, power, privilege, license, and
       franchise of any kind or character whatsoever, known, unknown, fixed or contingent,
       matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
       or undisputed, secured or unsecured, or assertable directly or derivatively, whether
       arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
       pursuant to any other theory of law (collectively, “Causes of Action”) they may have,
       and neither these Global Notes nor the Schedules and Statements shall be deemed a
       waiver of any Claims or Causes of Action or in any way prejudice or impair the assertion
       of such Claims or Causes of Action.

25.    Intercompany Payables and Receivables. Intercompany receivables and payables are
       set forth on Schedules A/B and E/F, respectively. The listing by the Debtors of any
       account between a Debtor and another affiliate, including between the Debtor and any
       disregarded or non-Debtor affiliate, is a statement of what appears in the Debtors’ books
       and records and does not reflect any admission or conclusion of the Debtors regarding
       the allowance, classification, characterization, validity, or priority of such account. The
       Debtors take no position in these Schedules and Statements as to whether such accounts
       would be allowed as a Claim or interest, or not allowed at all. The Debtors and all
       parties in interest reserve all rights with respect to such accounts. Further information
       regarding the Debtors’ intercompany transactions is set forth in the Debtors’ Emergency
       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
       (A) Continue Their Existing Cash Management System, (B) Maintain Existing Business
       Forms and Intercompany Arrangements, (C) Continue Intercompany Transactions, and
       (D) Continue Utilizing Employee Credit Cards, and (II) Granting Related Relief
       (Docket No. 12) (the “Cash Management Motion”).

26.    Employee Claims. The Bankruptcy Court entered a final order granting authority, but
       not requiring, the Debtors to pay prepetition employee wages, salaries, benefits, and
       other related obligations. With the exception of any prepetition severance and paid time
       off obligations that are still owing under the Debtors’ policies and applicable non-
       bankruptcy law, as applicable, the Debtors currently expect that most prepetition
       employee Claims for wages, salaries, benefits, and other related obligations either have
       been paid or will be paid in the ordinary course of business and, therefore, the Schedules
       and Statements do not include such Claims. The Debtors have not listed their regular
       payroll disbursements and employee expense reimbursements in Question 3 for the
       Statements.

27.    Insiders. The Debtors have attempted to include all payments made over the 12 months
       preceding the Petition Date to any party deemed an “insider.” For purposes of the
       Schedules and Statements, the Debtors defined “insiders” as such term is defined in
       section 101(31) of the Bankruptcy Code. Persons listed as “insiders” have been
       included for informational purposes only and the inclusion of them in the Schedules and
       Statements shall not constitute an admission that such persons are insiders for purposes
       of section 101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any
       position with respect to: (i) any insider’s influence over the control of the Debtors; (ii)
       the management responsibilities or functions of any such insider; (iii) the decision-
       making or corporate authority of any such insider; or (iv) whether the Debtors or any



                                               Page 9
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 10 of 130



        such insider could successfully argue that he or she is not an “insider” under applicable
        law or with respect to any theories of liability or for any other purpose.

28.     Employee Addresses. Current employee and director addresses have been reported as
        the Debtors’ business address throughout the Schedules and Statements, where
        applicable.

29.     Confidential or Sensitive Information. There may be instances where certain
        information was not included or redacted due to the nature of an agreement between a
        Debtor and a third party, concerns about the confidential or commercially sensitive
        nature of certain information, or concerns for the privacy of an individual. Any
        alterations will be limited to only what is necessary to protect the Debtor or third party
        and will provide interested parties with sufficient information to discern the nature of
        the listing.

30.     Fiscal Year. The Debtors operate on a calendar year basis. Unless otherwise indicated,
        all references to “annual,” “annually,” “year,” “years,” or an otherwise similar length of
        time are presumed to refer to a period of time in accordance with the Debtors’ fiscal
        year. Each Debtor’s fiscal year ends on December 31.

31.     Specific Notes. These Global Notes are in addition to the specific notes set forth below
        and in the Schedules and Statements of the individual Debtor entities. The fact that the
        Debtors have prepared a Global Note with respect to a particular Schedule or Statement
        and not as to others does not reflect and should not be interpreted as a decision by the
        Debtors to exclude the applicability of such Global Note to any or all of the Debtors'
        remaining Schedules or Statements, as appropriate. Disclosure of information in one
        Schedule, one Statement, or an exhibit or attachment to a Schedule or Statement, even
        if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
        exhibit, or attachment. In the event that the Schedules or Statements differ from any of
        the foregoing Global Notes, the Global Notes shall control.




                                              Page 10
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 11 of 130



                Specific Disclosures with Respect to the Debtors’ Schedules

        The Schedules do not purport to represent financial statements prepared in accordance
with GAAP, nor are they intended to be fully reconciled with the financial statements of the
Debtors. Additionally, the Schedules contain unaudited information that is subject to further
review and potential adjustment, and reflect the Debtors’ reasonable best efforts to report the
assets and liabilities of the Debtors. Moreover, given, among other things, the uncertainty
surrounding the collection and ownership of certain assets and the valuation and nature of
certain liabilities, to the extent that the Debtors show more assets than liabilities, this is not an
admission that the Debtors were solvent as of the Petition Date or at any time before the Petition
Date. Likewise, to the extent the Debtors show more liabilities than assets, this is not an
admission that the Debtors were insolvent as of the Petition Date or at any time before the
Petition Date. Values listed in these Schedules and Statements should not be used to determine
the Debtors’ enterprise valuation.

1.      Schedule A/B, Part 1, Questions 2–4.

        Cash and cash equivalents are as of the Petition Date.

        For more information on the Debtors’ cash management system, please refer to the
        Cash Management Motion.

2.      Schedule A/B, Part 2, Question 8.

        Certain prepaid or amortized assets are listed in Part 2 in accordance with the Debtors’
        books and records. The amounts listed in Part 2 do not necessarily reflect assets that
        the Debtors will be able to collect or realize. The amounts listed in Part 2 include,
        among other things, utility deposits, prepaid subscriptions, construction, rent and other
        prepayments.

3.      Schedule A/B, Part 4, Question 14.

        Ownership interests in subsidiaries and affiliates primarily arise from common stock
        ownership or member or partnership interests. Unless otherwise listed in the Schedules,
        the Debtors’ respective ownership interests in subsidiaries are listed in Schedule A/B,
        Part 4 as undetermined amounts because the fair market value of such interests is
        dependent on numerous variables and factors and may differ significantly from the
        NBV.

        For more information concerning the Debtors’ organizational structure, please refer to
        the organization chart annexed to the First Day Declaration and the discussion therein.

        Cryptocurrencies are reported in question 14, “Investments - Mutual funds or publicly
        traded stocks not included in Part 1”.

4.      Schedule A/B, Part 8, Questions 46–53.
        Includes vehicles, miners, network equipment, servers, switchboards, transformers,
        and other equipment.




                                               Page 11
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 12 of 130



5.     Schedule A/B, Part 9, Questions 55–58.

       Where possible, the Debtors have provided the NBV on a property-by-property basis
       rather than current market values, which value may not reflect the net realizable value.
       For this reason, amounts ultimately realizable upon a sale will vary, potentially
       materially, from NBV, and the NBV listed shall not be construed as current or fair
       market value of such property. The Debtors considered both owned real property and
       ground leases to which the respective Debtor is a lessee in responding to Schedule A/B,
       Questions 55–58. In addition, the real property leases to which a Debtor is a lessee or
       lessor are listed in Schedule G. To the extent any interest in such leases is listed on
       Schedule G but not Schedule A/B, such interests are incorporated into Schedule A/B,
       Questions 55–58 by reference.

6.     Schedule A/B, Part 11, Question 72.

       The Debtors’ response to the schedule questionnaire is indicative of the gross non-tax
       effected net operating loss (“NOL”) values as compared to the GAAP net deferred tax
       assets associated with such NOLs. The actual dollar impact of how these NOLs affect
       future taxable income is dependent upon, among other things, the timing, character, and
       amount of any future or previous years’ (provided NOLs are allowed to be carried back)
       income to which they can be applied. Amounts also do not reflect the consideration of
       any valuation allowances recorded pursuant to GAAP, which have the effect of reducing
       associated deferred tax assets. Additionally, the NOLs listed in Schedule A/B, Question
       72 reflect the amounts listed in the Debtors’ books and records, may reflect NOLs
       accumulated for more than one tax year, and may be subject to expiration or limitations
       on usability now or in the future.

       For further information regarding NOLs and other of the Debtors’ tax attributes, please
       refer to the Emergency Motion of the Debtors Pursuant to Sections 362 and 105(a) of
       the Bankruptcy Code for Interim and Final Orders Establishing Notification
       Procedures and Approving Restrictions On (A) Certain Transfers of Interests in the
       Debtors, and (B) Claiming of Certain Worthless Stock Deductions (Docket No. 7)
       (the “NOL Motion”). Any description of such tax attributes contained herein is
       qualified by the NOL Motion in all respects.

7.     Schedule D.

       Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights
       to dispute or challenge the validity, perfection, or immunity from avoidance of any lien,
       including mechanics’ or similar liens, purported to be granted or perfected in any
       specific asset for the benefit of a secured creditor listed on a Debtor’s Schedule D.
       Moreover, although the Debtors may have scheduled Claims of various creditors as
       secured Claims, the Debtors reserve all rights to dispute or challenge the secured nature
       of any such creditor’s Claim or the characterization of any such transaction or any
       document or instrument (including without limitation, any intercompany agreement)
       related to such creditor’s Claim. To that end, the Debtors take no position as to the
       extent or priority of any particular creditor’s lien in the Schedules and Statements.

       With respect to those certain (i) secured convertible notes issued pursuant to that certain
       Secured Convertible Note Purchase Agreement, dated as of April 19, 2021 (as may be


                                             Page 12
Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 13 of 130



  amended, restated, amended and restated, supplemented, or otherwise modified from
  time to time, and including all related credit documents, and the notes issued thereunder,
  the “April Convertible Notes”) and/or (ii) secured convertible notes issued pursuant to
  that certain Secured Convertible Note Purchase Agreement, dated on or about August
  20, 2021 (as may be amended, restated, amended and restated, supplemented, or
  otherwise modified from time to time, and including all related credit documents, and
  the notes issues thereunder, the “August Convertible Notes”, and collectively with the
  April Secured Convertible Notes, the “Convertible Notes”), the Debtors have listed
  only the note/collateral agent as the named creditor on Schedule E/F. Nonetheless, the
  Convertible Notes are beneficially owned by a number of other parties, which are not
  listed individually on Schedule E/F. Further, as noted on the organizational chart
  annexed to the First Day Declaration, certain Debtors are guarantors of the Convertible
  Notes. The Debtors have included the Convertible Notes on Schedule E/F of Core
  Scientific, Inc., the issuer of the Convertible Notes and on the relevant Debtors’
  schedules that are guarantors of the Convertible Notes. Nothing herein or in the
  Schedules or Statements is intended to be deemed an admission or allowance by the
  Debtors regarding the amount of any Claims arising from the Convertible Notes.

  The Debtors are party to various equipment financing agreements (collectively,
  the “Equipment Financings”), which the Debtors have included on Schedule D of the
  obligor for each Equipment Financing. As stated above, unless otherwise indicated,
  Equipment Financing Claim amounts are scheduled at outstanding principal amounts as
  of Petition Date. Nothing in the Schedules and Statements is or should be construed as
  an admission as to the determination of the legal status of any Equipment Financing,
  including the validity or amount of any lien in connection therewith, and the Debtors
  reserve all rights with respect thereto. Furthermore, the inclusion of an Equipment
  Financing on Schedule D shall not constitute an admission as to the value of any
  collateral securing such Equipment Financing or any deficiency Claim relating thereto.

  The Debtors are party to certain agreements titled as leases for cryptocurrency miners
  and other non-miner equipment (collectively, the “Equipment Leases”). Any known
  prepetition obligations of the Debtors pursuant to the Equipment Leases have been listed
  on Schedule D or Schedule E/F, as applicable. The underlying Equipment Lease
  agreements are listed on Schedule G. Nothing in the Schedules and Statements is or
  should be construed as an admission as to the determination of the legal status of any
  Equipment Lease, including the characterization of an Equipment Lease as a lease or an
  equipment financing, and the Debtors reserve all rights with respect thereto. The
  Debtors reserve all rights to dispute the secured status (or the validity of any asserted
  lien) of any Equipment Lease and all rights related thereto are expressly reserved.

  The Debtors further reserve the right to challenge the secured status of any liability.
  Characterizing a liability, including an Equipment Financing, as “secured,” shall not
  constitute an admission as to the validity of any asserted lien or amount thereof.

  Nothing herein or in the Schedules or Statements is intended to be deemed an admission
  of liability by the Debtors with respect to any ongoing or future litigation relating to the
  indebtedness listed on Schedule D.

  The descriptions provided in Schedule D are intended only to be a summary. Reference
  to the applicable underlying documents is necessary for a complete description of the



                                         Page 13
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 14 of 130



       collateral and the nature, extent, and priority of any liens. Nothing in these Notes or the
       Schedules and Statements shall be deemed a modification or interpretation of the terms
       of such agreements.

       Except as specifically stated herein, real property lessors, equipment lessors, utility
       companies, and other parties that may hold security deposits have not been listed on
       Schedule D. The Debtors have not included parties that may believe their Claims are
       secured through setoff rights or inchoate statutory lien rights, including certain parties
       from which the Debtors have received lien notices but whose notices the Debtors
       understand have not yet been filed or recorded. While reasonable efforts have been
       made, determination of the date upon which each Claim in Schedule D was incurred or
       arose may be unduly burdensome or cost prohibitive in some instances and, therefore,
       the Debtors may not list a date for each Claim listed on Schedule D.

       While reasonable efforts have been made, certain guarantors of the debts listed on
       Schedule D may have been inadvertently excluded. The Debtors reserve all of their
       rights to amend or supplement Schedule D as necessary or appropriate.

       For purposes of Schedule D, the Debtors have included the principal amounts
       outstanding. Amounts listed on Schedule D should not be used to determine the amount
       of an alleged secured claim or the value of the underlying collateral, which may be
       disputed.

8.     Schedule E/F, Part 1.

       The Claims listed on Schedule E/F, Part 1 arose and were incurred on various dates; a
       determination of the date upon which each Claim arose or was incurred would be unduly
       burdensome and cost prohibitive. Accordingly, not all such dates are included for each
       Claim. To the best of the Debtors’ knowledge, all Claims listed on Schedule E/F arose
       or were incurred before the Petition Date.

       The Debtors have not listed certain wage, or wage-related, obligations that the Debtors
       have paid pursuant to First Day Orders on Schedule E/F. The Debtors reserve the right
       to dispute or challenge whether creditors listed on Schedule E/F are entitled to priority
       status pursuant to sections 503 and/or 507 of the Bankruptcy Code.

       Claims owing to various taxing authorities to which the Debtors potentially may be
       liable are included on the Debtors’ Schedule E/F. Certain of such Claims, however,
       may be subject to ongoing audits and/or the Debtors otherwise may be unable to
       determine with certainty the amount of the remaining Claims listed on Schedule E/F.
       Therefore, where applicable, the Debtors have listed such Claims as contingent,
       disputed, and/or unliquidated, pending final resolution of ongoing audits or other
       outstanding issues. The Debtors reserve the right to assert that any Claim listed on
       Schedule E/F does not constitute a priority Claim under the Bankruptcy Code.

9.     Schedule E/F, Part 2.

       The Debtors have exercised commercially reasonable efforts to list all liabilities on
       Schedule E/F of each applicable Debtor. As a result of the Debtors’ consolidated




                                             Page 14
Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 15 of 130



  operations, however, the reader should review Schedule E/F for all Debtors in these
  cases for a more complete understanding of the unsecured debts of the Debtors.

  Certain creditors listed on Schedule E/F may owe amounts to the Debtors, and, as such,
  the Debtors may have valid setoff and recoupment rights with respect to such amounts.
  The amounts listed on Schedule E/F may not reflect any such right of setoff or
  recoupment, and the Debtors reserve all rights to assert the same and to dispute and
  challenge any setoff and/or recoupment rights that may be asserted against the Debtors
  by a creditor.

  Additionally, certain creditors may assert mechanics’, materialman’s, or other, similar
  liens against the Debtors for amounts listed on Schedule E/F. The Debtors reserve their
  rights to dispute and challenge the validity, perfection, and immunity from avoidance
  of any lien purported to be perfected by a creditor listed on Schedule E/F of any Debtor.
  In addition, certain Claims listed on Schedule E/F (Part 2) may be entitled to priority
  under section 503(b)(9) of the Bankruptcy Code.

  Schedule E/F also contains information regarding pending litigation involving the
  Debtors. In certain instances, the relevant Debtor that is the subject of the litigation is
  unclear or undetermined. To the extent that litigation involving a particular Debtor has
  been identified, however, such information is included on that Debtor’s Schedule E/F.
  The amounts for these potential Claims are listed as undetermined and marked as
  contingent, unliquidated, and disputed in the Schedules. Additionally, certain pending
  or potential litigation and Claims listed in Schedule E/F involve individual claimants.

  Current employee and director addresses have been reported as the Debtors’ business
  address throughout the Schedules and Statements.

  The Claims of individual creditors for, among other things, goods, products, services,
  or taxes are listed as the amounts entered on the Debtors’ books and records and may
  not reflect credits, allowances, or other adjustments due from such creditors to the
  Debtors. The Debtors reserve all of their rights with regard to such credits, allowances,
  and other adjustments, including the right to assert Claims objections and/or setoffs with
  respect to the same.

  The aggregate net intercompany payable amounts listed in Schedule E/F may or may
  not result in allowed or enforceable Claims by or against a given Debtor, and listing
  these payables is not an admission on the part of the Debtors that the intercompany
  Claims are enforceable or collectable. The intercompany payables also may be subject
  to recoupment, netting, or other adjustments made pursuant to intercompany policies
  and arrangements not reflected in the Schedules.

  As noted, the Bankruptcy Court has authorized the Debtors to pay, in their discretion,
  certain unsecured prepetition Claims, pursuant to the First Day Orders. To the extent
  practicable, each Debtor’s Schedule E/F is intended to reflect the balance as of the
  Petition Date, adjusted for postpetition payments of some or all of the Bankruptcy Court
  approved payments. Each Debtor’s Schedule E/F will reflect some of the Debtor’s
  payments of certain Claims pursuant to the First Day Orders, and, to the extent an
  unsecured Claim has been paid or may be paid, it is possible such Claim is not included
  on Schedule E/F. Certain Debtors may pay additional Claims listed on Schedule E/F


                                        Page 15
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 16 of 130



        during these chapter 11 cases pursuant to these and other orders of the Bankruptcy Court
        and the Debtors reserve all of their rights to update Schedule E/F to reflect such
        payments or to modify the claims register to account for the satisfaction of such Claim.

        Additionally, Schedule E/F does not include potential rejection damage Claims, if any,
        of the counterparties to executory contracts and unexpired leases that have been, or may
        be, rejected. Furthermore, Schedule E/F does not include any deficiency Claims relating
        to liabilities listed on Schedule D, including Equipment Financings.

10.     Schedule G.

        While the Debtors’ existing books, records, and financial systems have been relied upon
        to identify and schedule executory contracts on each Debtor’s Schedule G, and while
        the Debtors have devoted substantial internal and external resources to identifying and
        providing the requested information for as many executory contracts as possible and to
        ensuring the accuracy of Schedule G, inadvertent errors, omissions, or over-inclusions
        may have occurred. The Debtors do not make, and specifically disclaim, any
        representation or warranty as to the completeness or accuracy of the information set
        forth on Schedule G. The Debtors reserve all of their rights to dispute the validity,
        status, or enforceability of any contract, agreement, or lease set forth in Schedule G and
        to amend or supplement Schedule G as necessary. Certain contracts, agreements, and
        leases listed on Schedule G may have expired or may have been modified, amended, or
        supplemented from time to time by various amendments, restatements, waivers,
        estoppel certificates, letters, memoranda, and other documents, instruments, and
        agreements that may not be listed therein despite the Debtors’ use of reasonable efforts
        to identify such documents. In addition, certain nondisclosure agreements and/or other
        confidential information have been omitted. The Debtors reserve all of their rights with
        respect to such agreements. Further, unless otherwise specified on Schedule G, each
        executory contract or unexpired lease listed thereon shall be deemed to include all
        exhibits, schedules, riders, modifications, declarations, amendments, supplements,
        attachments, restatements, or other agreements made directly or indirectly by any
        agreement, instrument, or other document that in any manner affects such executory
        contract or unexpired lease, without respect to whether such agreement, instrument, or
        other document is listed thereon.

        In some cases, the same supplier or provider appears multiple times on Schedule G.
        This multiple listing is intended to reflect distinct agreements between the applicable
        Debtor and such supplier or provider.

        The Debtors are party to certain agreements titled as leases for cryptocurrency miners
        and other non-miner equipment (collectively, the “Equipment Leases”). Any known
        prepetition obligations of the Debtors pursuant to the Equipment Leases have been listed
        on Schedule D or Schedule E/F, as applicable. The underlying Equipment Lease
        agreements are listed on Schedule G. Nothing in the Schedules and Statements is or
        should be construed as an admission as to the determination of the legal status of any
        Equipment Lease, including the characterization of an Equipment Lease as a lease or an
        equipment financing, and the Debtors reserve all rights with respect thereto. The
        Debtors reserve all rights to dispute the secured status (or the validity of any asserted
        lien) of any Equipment Lease and all rights related thereto are expressly reserved.




                                              Page 16
Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 17 of 130



  In the ordinary course of business, the Debtors may have issued numerous purchase
  orders for supplies, product, and related items, which, to the extent such purchase orders
  constitute executory contracts, are not listed individually on Schedule G. To the extent
  that goods were delivered under purchase orders prior to the Petition Date, vendors’
  Claims with respect to such delivered goods are included on Schedule E/F. Similarly,
  in the ordinary course of business, the Debtors may have issued numerous statements
  of work or similar documents for services, which, to the extent such statements of work
  or similar documents constitute executory contracts, are not listed individually on
  Schedule G. To the extent services were delivered under statements of work prior to
  the Petition Date, vendors’ Claims with respect to such services are included on
  Schedule E/F.

  As a general matter, certain of the Debtors’ executory contracts and unexpired leases
  could be included in more than one category. In those instances, one category has been
  chosen to avoid duplication. Further, the designation of a category is not meant to be
  wholly inclusive or descriptive of the entirety of the rights or obligations represented by
  such contract.

  Certain of the executory contracts and unexpired leases listed on Schedule G may
  contain certain renewal options, guarantees of payment, options to purchase, rights of
  first refusal, right to lease additional space, and other miscellaneous rights. Such rights,
  powers, duties, and obligations are not set forth separately on Schedule G. In addition,
  the Debtors may have entered into various other types of agreements in the ordinary
  course of their business, such as easements, rights of way, subordination,
  nondisturbance,        and     attornment     agreements,     supplemental      agreements,
  amendments/letter agreements, title agreements, employment-related agreements, and
  confidentiality and non-disclosure agreements. Such documents may not be set forth in
  Schedule G.

  The Debtors reserve all of their rights, Claims, and causes of action with respect to the
  contracts and agreements listed on Schedule G, including the right to dispute or
  challenge the characterization or the structure of any transaction, document, or
  instrument related to a creditor’s Claim, to dispute the validity, status, or enforceability
  of any contract, agreement, or lease set forth in Schedule G, and to amend or supplement
  Schedule G as necessary. Inclusion of any agreement on Schedule G does not constitute
  an admission that such agreement is an executory contract or unexpired lease and the
  Debtors reserve all rights in that regard, including, without limitation, that any
  agreement is not executory, has expired pursuant to its terms, or was terminated
  prepetition.

  In addition, certain of the agreements listed on Schedule G may be in the nature of
  conditional sales agreements or secured financings. The presence of a contract or
  agreement on Schedule G does not constitute an admission that such contract or
  agreement is an executory contract or unexpired lease. The Debtors reserve all of their
  rights, claims, and causes of action with respect to the contracts and agreements listed
  on Schedule G, including the right to dispute or challenge the characterization or the
  structure of any transaction, or any document or instrument (including, without
  limitation, any intercreditor or intercompany agreement) related to a creditor’s Claim.
  Certain of the contracts, agreements, and leases listed on Schedule G may have been
  entered into by more than one of the Debtors. Further, the specific Debtor obligor to


                                         Page 17
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 18 of 130



       certain of the executory contracts or unexpired leases could not be specifically
       ascertained in every circumstance. In such cases, the Debtors used their best efforts to
       determine the correct Debtor’s Schedule G on which to list such executory contract or
       unexpired lease.

       In the ordinary course of business, the Debtors have entered into numerous contracts or
       agreements, both written and oral, regarding the provision of certain services on a
       month-to-month basis. To the extent such contracts or agreements constitute executory
       contracts, these contracts and agreements may not be listed individually on Schedule G.

       Certain of the executory contracts may not have been memorialized and could be subject
       to dispute; executory agreements that are oral in nature have not been included in
       Schedule G.

       Certain of the executory contracts and unexpired leases listed in Schedule G may have
       been assigned to, assumed by, or otherwise transferred to certain of the Debtors in
       connection with, among other things, acquisitions by the Debtors. The Debtors used
       their best efforts to determine the correct Debtor’s Schedule G on which to list such
       executory contract or unexpired lease.

       The Debtors generally have not included on Schedule G any insurance policies, the
       premiums for which have been prepaid. In the event that the Bankruptcy Court were to
       ever determine that any such prepaid insurance policies are executory contracts, the
       Debtors reserve all of their rights to amend Schedule G to include such policies, as
       necessary or appropriate. A description of the Debtors’ insurance policies and insurance
       programs is included in the Emergency Motion of Debtors for Entry of Interim and Final
       Orders (I) Authorizing Debtors to (A) Continue Insurance Programs and Surety Bonds,
       and (B) Pay Certain Obligations with Respect Thereto; (II) Granting Relief from
       Automatic Stay with Respect to Workers’ Compensation Claims; and (III) Granting
       Related Relief (Docket No. 13) (the “Insurance Motion”) and the exhibits attached
       thereto.

              Specific Disclosures with Respect to the Debtors’ Statements

1.     SOFA Part 2, Question 3.

       Severance for non-insiders is not considered regular employee compensation and is
       included.

2.     SOFA Part 2, Question 4.

       Includes payments to legal entities, including individuals and affiliates.

       For purposes of the Schedules and Statements, the Debtors defined “insiders” as such
       term is defined in section 101(31) of the Bankruptcy Code. Persons listed as “insiders”
       have been included for informational purposes only and the inclusion of them in the
       Schedules and Statements shall not constitute an admission that such persons are
       insiders for purposes of section 101(31) of the Bankruptcy Code. Moreover, the Debtors
       do not take any position with respect to: (i) any insider’s influence over the control of
       the Debtors; (ii) the management responsibilities or functions of any such insider; (iii)



                                             Page 18
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 19 of 130



       the decision-making or corporate authority of any such insider; or (iv) whether the
       Debtors or any such insider could successfully argue that he or she is not an “insider”
       under applicable law or with respect to any theories of liability or for any other purpose.
       Entities listed as “insiders” have been included for informational purposes and their
       inclusion shall not constitute an admission that those entities are insiders for purposes
       of section 101(31) of the Bankruptcy Code. As stated above, the listing of a party as an
       insider in the Schedules and Statements, is not intended to be, nor shall be, construed as
       a legal characterization or determination of such party as an actual insider and does not
       act as an admission of any fact, claim, right or defense, and all such rights, claims, and
       defenses are hereby expressly reserved.

       Given the significant volume and ordinary course nature of these intercompany
       transactions, the Debtors may not have listed all intercompany transfers and
       transactions.

       As described in the Emergency Motion of Debtors for Entry of an Order (I) Authorizing
       Debtors to (A) Pay Prepetition Wages, Salaries, Employee Benefits, and Other
       Compensation, and (B) Maintain Employee Benefits Programs and Pay Related
       Obligations; and (II) Granting Related Relief (Docket No. 6) (the “Wages Motion”),
       employees are generally granted restricted stock units (“RSUs”) upon the
       commencement of their employment, which RSUs continue to vest through the term of
       their employment on four-year schedules. The Debtors have not included the vesting
       of previously granted RSUs for purposes of SOFA Part 2, Question 4. The Debtors,
       however, have included new grants of RSUs in SOFA Part 2, Question 4. For purposes
       of SOFA Part 2, Question 4, the RSUs are valued as of the Petition Date at $0 as they
       are granted in shares and not cash.

3.     SOFA Part 2, Question 5.

       The Debtors return products in the ordinary course due to defect, or if the product is
       not needed. The Debtors did not list any of these types of ordinary course returns in
       response to SOFA Part 2, Question 5.

4.     SOFA Part 2, Question 6.

       The Debtors routinely incur certain setoffs in the ordinary course of business, including
       postpetition setoffs. Setoffs in the ordinary course can result from various items
       including, but not limited to, intercompany transactions, pricing discrepancies, returns,
       warranties, coupons, refunds, and other disputes between the Debtors and their tenants
       and/or vendors. These routine setoffs are consistent with the ordinary course of business
       in the Debtors’ industry, and, therefore, can be particularly voluminous, unduly
       burdensome, and costly for the Debtors to regularly document. Therefore, although
       such setoffs and other similar rights may have been accounted for when scheduling
       certain amounts, these ordinary course setoffs are not independently accounted for, and,
       as such, are excluded from the Schedules and Statements. Any setoff of a prepetition
       debt to be applied against the Debtors is subject to the automatic stay and must comply
       with section 553 of the Bankruptcy Code. The Debtors reserve all rights with respect
       thereto, including the right to amend the setoff amounts.




                                             Page 19
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 20 of 130



5.     SOFA Part 3, Question 7.

       Although the Debtors believe they were diligent in their efforts, certain lawsuits and
       proceedings may have been excluded inadvertently in the Debtors’ response to SOFA,
       Question 7. Additionally, the Debtors may have causes of action against other parties
       that have not formally been commenced, and thus any such causes of action have not
       been included on SOFA Part 3, Question 7. The Debtors reserve all of their rights to
       amend or supplement their response to SOFA Part 3, Question 7.

       The Debtors reserve all of their rights and defenses with respect to any and all listed
       lawsuits and administrative proceedings. The listing of such actions shall not constitute
       an admission by the Debtors of any liabilities or that the actions were correctly filed
       against the Debtors or any affiliates of the Debtors. The Debtors also reserve their rights
       to assert that neither the Debtors nor any affiliate of the Debtors is an appropriate party
       to such actions or proceedings.

       In the event that the Debtors discover additional information pertaining to these legal
       actions identified in response to SOFA Part 3, Question 7, the Debtors will use
       reasonable efforts to supplement the Statements in light thereof and reserve all rights to
       do so.

       The response to this question excludes normal-course state audit activities.

6.     SOFA Part 4, Question 9.

       The donations and/or charitable contributions listed in response to SOFA Part 4,
       Question 9 represent payments made to third parties during the applicable timeframe
       that were recorded as such within the Debtors’ books and records.

7.     SOFA Part 6, Question 11.

       All payments for services of any entities that provided consultation concerning debt
       counseling or restructuring services, relief under the Bankruptcy Code, or preparation
       of a petition in bankruptcy within one (1) year immediately preceding the Petition Date
       are listed on the applicable Debtors’ response to SOFA Part 6, Question 11. Certain
       professionals provided services in addition to restructuring related services; payments
       for such services have been excluded in response to SOFA Part 6, Question 11, to the
       extent reasonably practicable. Additional information regarding the Debtors’ retention
       of professional service firms is more fully described in individual retention applications
       and related orders, to the extent applicable.

       On a postpetition basis, payments to certain professionals have been or will be made
       from the Debtors’ segregated professional fee escrow account held by Core Scientific,
       Inc. on behalf of the Debtors on a consolidated basis. Payments to certain other
       professionals are paid out of the main operating account held by Core Scientific
       Operating Company. The Debtors believe that it would be an inefficient use of the
       assets of the Debtors’ estates for the Debtors to allocate these payments on a Debtor-
       by-Debtor basis. Accordingly, the Debtors have listed such payments on the SOFA of
       Core Scientific Operating Company.




                                             Page 20
     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 21 of 130



8.     SOFA Part 13, Question 27.

       No complete inventory results are maintained.

9.     SOFA Part 13, Question 30.

       Payments to insiders: refer to SOFA Part 2, Question 4 for payments that would have
       otherwise been listed in here.




                                          Page 21
        Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 22 of 130




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


In re:                                                 §        Chapter 11
                                                       §
CORE SCIENTIFIC, INC., et al.,                         §        Case No. 22-90341 (DRJ)
                                                       §
                   Debtors. 1                          §        (Jointly Administered)


                 AMENDED STATEMENT OF FINANCIAL AFFAIRS
          FOR CORE SCIENTIFIC OPERATING COMPANY (CASE NO. 22-90343) 2




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.
2
    This document (the “Amended Statement”) amends the Statement of Financial Affairs for Core Scientific
    Operating Company (Case No. 22-90343) (Docket No. 474) (the “Original Statement”) by adding certain items.
    For a list of items added to the Amended Statement, please see Exhibit B to the Notice of Filing of Amended
    Schedules of Assets and Liabilities and Statement of Financial Affairs for Core Scientific Operating Company, filed
    contemporaneously herewith.
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 23 of 130

Core Scientific Operating Company                                                                      Case Number:          22-90343

    Part 1:          Income

1. Gross Revenue from business
       None

 Identify the Beginning and Ending Dates of the Debtor’s Fiscal Year,       Sources of Revenue                 Gross Revenue
 which may be a Calendar Year                                               (Check all that apply)             (Before Deductions and
                                                                                                               Exclusions)

From the beginning of the     From     1/1/2022     to      Filing date         Operating a business                  $562,961,812
fiscal year to filing date:          MM/DD/YYYY           MM/DD/YYYY            Other


For prior year:               From     1/1/2021     to     12/31/2021           Operating a business                  $501,967,075
                                     MM/DD/YYYY           MM/DD/YYYY            Other


For the year before that:     From     1/1/2020     to     12/31/2020           Operating a business                  $60,320,315
                                     MM/DD/YYYY           MM/DD/YYYY            Other




                                                            Page 1 of 1 to Question 1
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 24 of 130

Core Scientific Operating Company                                                                  Case Number:          22-90343


    Part 1:       Income

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money
collected from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed
in line 1.
      None

                                                                       Description of Sources of Revenue       Gross Revenue
                                                                                                           (Before Deductions and
                                                                                                                 Exclusions)

                          From                 to
                                 MM/DD/YYYY         MM/DD/YYYY




                                                      Page 1 of 1 to Question 2
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 25 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


      Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
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within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575
(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
      None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.1    36TH STREET CAPITAL PARTNERS LLC                             10/3/2022            $272,889         Secured debt
       15 MAPLE AVENUE                                                                                    Unsecured loan repayment
       MORRISTOWN, NJ 07960                                         11/1/2022             $67,599
                                                                                                          Suppliers or vendors
                                                                    12/1/2022             $67,599         Services
                                                                                                          Other



                                TOTAL 36TH STREET CAPITAL PARTNERS LLC                   $408,087

3.2    ABLE COMMUNICATIONS INC                                      11/14/2022            $44,059         Secured debt
       1413 AVENUE H                                                                                      Unsecured loan repayment
       GRAND PRAIRIE, TX 75050                                                                            Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                         TOTAL ABLE COMMUNICATIONS INC                    $44,059

3.3    ACCUFORCE HR SOLUTIONS LLC                                   9/26/2022             $19,249         Secured debt
       1567 N EASTMAN ROAD                                                                                Unsecured loan repayment
       SUITE 2                                                      10/3/2022             $11,112
                                                                                                          Suppliers or vendors
       KINGSPORT, TN 37664                                          10/11/2022            $13,622         Services
                                                                    10/18/2022            $20,320         Other

                                                                    10/25/2022            $20,458
                                                                    10/28/2022            $71,268
                                                                    11/7/2022             $73,448
                                                                    11/14/2022            $18,634
                                                                    11/23/2022            $15,006
                                                                    12/19/2022            $53,546




                                     TOTAL ACCUFORCE HR SOLUTIONS LLC                    $316,664




                                                        Page 1 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 26 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
      None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.4    ACME ELECTRIC MOTOR INC                                      9/26/2022             $1,766          Secured debt
       PO BOX 13720                                                                                       Unsecured loan repayment
       GRAND FORKS, ND 58208-3720                                   9/27/2022              $335
                                                                                                          Suppliers or vendors
                                                                    9/28/2022             $16,088         Services
                                                                    10/24/2022            $2,027          Other

                                                                    10/25/2022            $2,252
                                                                    11/7/2022             $12,093
                                                                    11/14/2022            $4,987
                                                                    11/30/2022              $97
                                                                    12/6/2022              $858
                                                                    12/13/2022            $5,096




                                         TOTAL ACME ELECTRIC MOTOR INC                    $45,599

3.5    AIRFLOW SCIENCES COORPORATION                                10/18/2022            $44,000         Secured debt
       12190 HUBBARD STREET                                                                               Unsecured loan repayment
       LIVONIA, MI 48150                                                                                  Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                 TOTAL AIRFLOW SCIENCES COORPORATION                      $44,000

3.6    ALEXANDER STERNHELL                                          10/11/2022            $15,000         Secured debt
       1201 NEW YOUR AVE NW                                                                               Unsecured loan repayment
       SUITE 900                                                                                          Suppliers or vendors
       WASHINGTON, DC 20005                                                                               Services
                                                                                                          Other
                                            TOTAL ALEXANDER STERNHELL                     $15,000

3.7    ALLISON C REICHEL                                            11/28/2022            $21,635         Secured debt
       2407 S. CONGRESS AVE                                                                               Unsecured loan repayment
       STE. E-101                                                                                         Suppliers or vendors
       AUSTIN, TX 78704                                                                                   Services
                                                                                                          Other Severance
                                                 TOTAL ALLISON C REICHEL                  $21,635




                                                        Page 2 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 27 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.8     ALSTON AND BIRD LLP                                         9/26/2022             $75,986         Secured debt
        1201 WEST PEACHTREE STREET                                                                        Unsecured loan repayment
        ATLANTA, GA 30309                                           10/28/2022            $4,053
                                                                                                          Suppliers or vendors
                                                                    11/23/2022            $2,193          Services
                                                                    12/13/2022            $4,057          Other




                                              TOTAL ALSTON AND BIRD LLP                   $86,289

3.9     AMAZON CAPITAL SERVICES INC                                 10/11/2022            $9,255          Secured debt
        PO BOX 84023                                                                                      Unsecured loan repayment
        SEATTLE, WA 98124                                           10/18/2022            $8,572
                                                                                                          Suppliers or vendors
                                                                    10/25/2022            $12,188         Services
                                                                    10/28/2022            $2,420          Other

                                                                    11/7/2022             $12,076
                                                                    11/14/2022            $17,381
                                                                    11/23/2022            $15,702
                                                                    11/30/2022            $4,980
                                                                    12/6/2022             $35,435
                                                                    12/13/2022            $6,505
                                                                    12/19/2022            $1,891




                                      TOTAL AMAZON CAPITAL SERVICES INC                  $126,405

3.10    AMAZON WEB SERVICES INC                                     9/26/2022            $105,627         Secured debt
        PO BOX 84023                                                                                      Unsecured loan repayment
        SEATTLE, WA 98124                                           10/25/2022             $154
                                                                                                          Suppliers or vendors
                                                                    10/28/2022           $104,483         Services
                                                                    11/30/2022            $99,566         Other




                                         TOTAL AMAZON WEB SERVICES INC                   $309,830




                                                        Page 3 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 28 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575
(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.11    AMERICAN AIR FILTER COMPANY INC                             9/26/2022            $119,125          Secured debt
        24828 NETWORK PLACE                                                                                Unsecured loan repayment
        CHICAGO, IL 60673                                           10/3/2022             $93,930
                                                                                                           Suppliers or vendors
                                                                    10/11/2022           $131,612          Services
                                                                    10/18/2022           $106,441          Other

                                                                    10/25/2022            $68,245
                                                                    10/28/2022            $70,841
                                                                    11/7/2022            $275,877




                                 TOTAL AMERICAN AIR FILTER COMPANY INC                   $866,071

3.12    AMERICAN SECURITY AND PROTECTION SERVICE LLC                9/26/2022             $8,071           Secured debt
        375 LITTLE RANGER RD                                                                               Unsecured loan repayment
        MURPHY, NC 28906                                            10/3/2022             $8,071
                                                                                                           Suppliers or vendors
                                                                    10/11/2022            $8,071           Services
                                                                    10/18/2022            $8,071           Other

                                                                    10/25/2022            $8,071
                                                                    10/28/2022            $8,071
                                                                    11/7/2022             $16,142
                                                                    11/14/2022            $8,071
                                                                    11/23/2022            $8,071
                                                                    11/30/2022            $8,071
                                                                    12/6/2022             $8,629
                                                                    12/13/2022            $8,071




                  TOTAL AMERICAN SECURITY AND PROTECTION SERVICE LLC                     $105,482

3.13    ANCHORAGE LENDING CA LLC                                    10/5/2022            $1,616,306        Secured debt
        ONE EMBARCADERO CENTER                                                                             Unsecured loan repayment
        SUITE 2623                                                                                         Suppliers or vendors
        SAN FRANCISCO, CA 94126                                                                            Services
                                                                                                           Other
                                       TOTAL ANCHORAGE LENDING CA LLC                  $1,616,306




                                                        Page 4 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 29 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


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3. Certain payments or transfers to creditors within 90 days before filing this case
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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.14    ANDERSEN TAX HOLDINGS LLC                                   10/18/2022            $9,601           Secured debt
        PO BOX 200988                                                                                      Unsecured loan repayment
        PITTSBURGH, PA 15251                                        11/23/2022            $33,120
                                                                                                           Suppliers or vendors
                                                                    12/19/2022            $12,780          Services
                                                                                                           Other



                                      TOTAL ANDERSEN TAX HOLDINGS LLC                     $55,501

3.15    AON RISK INSURANCE SERVICES WEST INC                        9/23/2022            $1,437,301        Secured debt
        PO BOX 849832                                                                                      Unsecured loan repayment
        LOS ANGELES, CA 90084                                       10/11/2022           $973,019
                                                                                                           Suppliers or vendors
                                                                    10/25/2022           $329,761          Services
                                                                    10/31/2022            $1,105           Other

                                                                    11/10/2022            $20,500
                                                                    11/28/2022           $329,761
                                                                    12/6/2022            $286,186




                            TOTAL AON RISK INSURANCE SERVICES WEST INC                 $3,377,633

3.16    ARCTOS CREDIT LLC                                           9/26/2022            $3,579,535        Secured debt
        2443 FILLMORE STREET #406                                                                          Unsecured loan repayment
        SAN FRANCISCO, CA 94115                                     10/5/2022             $50,000
                                                                                                           Suppliers or vendors
                                                                    10/17/2022           $184,650          Services
                                                                    10/27/2022            $37,541          Other




                                                TOTAL ARCTOS CREDIT LLC                $3,851,726

3.17    AUSTIN GRANT PARKER                                         10/4/2022             $8,255           Secured debt
        2390 KITTLE RD. NW                                                                                 Unsecured loan repayment
        DALTON, GA 30720                                            10/25/2022            $4,713
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                             TOTAL AUSTIN GRANT PARKER                    $12,968




                                                        Page 5 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 30 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.18    AVERITT EXPRESS INC                                         9/26/2022             $21,016          Secured debt
        PO BOX 102197                                                                                      Unsecured loan repayment
        ATLANTA, GA 30368-2197                                      10/3/2022              $839
                                                                                                           Suppliers or vendors
                                                                    10/11/2022            $5,779           Services
                                                                    10/18/2022            $5,125           Other

                                                                    10/25/2022            $4,348
                                                                    10/28/2022             $410
                                                                    11/7/2022             $6,310
                                                                    11/14/2022            $22,495
                                                                    11/23/2022            $3,340
                                                                    11/30/2022            $15,210
                                                                    12/6/2022             $19,633
                                                                    12/13/2022            $6,472




                                              TOTAL AVERITT EXPRESS INC                  $110,976

3.19    B RILEY SECURITIES INC                                      10/27/2022           $1,981,343        Secured debt
        1300 N 17TH STREET                                                                                 Unsecured loan repayment
        2ND FLOOR                                                                                          Suppliers or vendors
        ARLINGTON, VA 22209                                                                                Services
                                                                                                           Other
                                            TOTAL B RILEY SECURITIES INC               $1,981,343

3.20    BALSAMWEST FIBERNET LLC                                     10/25/2022            $4,679           Secured debt
        PO BOX 625                                                                                         Unsecured loan repayment
        SYLVA, NC 28779                                             11/23/2022            $4,679
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                        TOTAL BALSAMWEST FIBERNET LLC                      $9,358

3.21    BARBARA LYNN SENTERS                                        11/14/2022            $23,077          Secured debt
        2407 S. CONGRESS AVE                                                                               Unsecured loan repayment
        STE. E-101                                                                                         Suppliers or vendors
        AUSTIN, TX 78704                                                                                   Services
                                                                                                           Other Severance
                                           TOTAL BARBARA LYNN SENTERS                     $23,077




                                                        Page 6 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 31 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.22    BERGSTROM ELECTRIC                                          11/14/2022            $20,000         Secured debt
        3100 NORTH WASHINGTON STREET                                                                      Unsecured loan repayment
        PO BOX 13152                                                                                      Suppliers or vendors
        GRAND FORKS, ND 58208                                                                             Services
                                                                                                          Other
                                             TOTAL BERGSTROM ELECTRIC                     $20,000

3.23    BITALPHA INC                                                10/28/2022            $3,500          Secured debt
        60 RUSSELL ST                                                                                     Unsecured loan repayment
        SAN FRANCISCO, CA 94109                                     12/6/2022             $3,500
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                                      TOTAL BITALPHA INC                   $7,000

3.24    BLACKLINE SAFETY CORP                                       10/3/2022             $50,822         Secured debt
        803 24 AVENUE SE                                                                                  Unsecured loan repayment
        SUTIE 100                                                                                         Suppliers or vendors
        CALGARY, AB T2G 1P5                                                                               Services
                                                                                                          Other
                                           TOTAL BLACKLINE SAFETY CORP                    $50,822

3.25    BLACKPEARL MANAGEMENT AND HUMAN RESOURCES                   9/26/2022             $10,758         Secured debt
        105 YAYF STREET AL NAHYAN CAMP AREA                                                               Unsecured loan repayment
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                 TOTAL BLACKPEARL MANAGEMENT AND HUMAN RESOURCES                          $10,758

3.26    BLOCKFI INC                                                 9/30/2022            $569,662         Secured debt
        201 MONTGOMERY ST                                                                                 Unsecured loan repayment
        SUITE 263                                                                                         Suppliers or vendors
        JERSEY CITY, NJ 07302                                                                             Services
                                                                                                          Other
                                                       TOTAL BLOCKFI INC                 $569,662

3.27    BROWN CORPORATION                                           10/3/2022             $18,871         Secured debt
        PO BOX 1103                                                                                       Unsecured loan repayment
        DALTON, GA 30722                                            11/1/2022             $18,871
                                                                                                          Suppliers or vendors
                                                                    12/2/2022             $18,871         Services
                                                                                                          Other



                                              TOTAL BROWN CORPORATION                     $56,614




                                                        Page 7 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 32 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.28    BUSINESS WIRE INC                                           10/11/2022             $100           Secured debt
        101 CALIFORNIA ST 20TH FLOOR                                                                      Unsecured loan repayment
        SAN FRANCISCO, CA 94111                                     10/28/2022            $8,450
                                                                                                          Suppliers or vendors
                                                                    12/6/2022              $100           Services
                                                                                                          Other



                                                  TOTAL BUSINESS WIRE INC                  $8,650

3.29    C & W FACILITY SERVICES, INC.                               11/7/2022            $174,895         Secured debt
        140 KENDRICK STREET                                                                               Unsecured loan repayment
        BUILDING C SUITE 201                                        11/23/2022           $303,870
                                                                                                          Suppliers or vendors
        BOSTON, MA 02110                                            12/6/2022             $13,054         Services
                                                                    12/16/2022           $231,072         Other




                                        TOTAL C & W FACILITY SERVICES, INC.              $722,891

3.30    C.H. ROBINSON COMPANY, INC.                                 9/26/2022             $2,918          Secured debt
        14701 CHARLSON ROAD                                                                               Unsecured loan repayment
        EDEN PRARIE, MN 55347                                       10/11/2022            $1,069
                                                                                                          Suppliers or vendors
                                                                    10/18/2022            $1,250          Services
                                                                    10/28/2022            $21,500         Other

                                                                    12/6/2022             $2,821
                                                                    12/13/2022            $1,815




                                        TOTAL C.H. ROBINSON COMPANY, INC.                 $31,372

3.31    CALLAHAN MECHANICAL CONTRACTORS INC                         10/3/2022             $6,776          Secured debt
        2811 8TH AVENUE                                                                                   Unsecured loan repayment
        CHATTANOOGA, TN 37407                                       10/11/2022             $733
                                                                                                          Suppliers or vendors
                                                                    10/25/2022            $1,579          Services
                                                                    11/30/2022            $1,579          Other

                                                                    12/6/2022             $2,987




                           TOTAL CALLAHAN MECHANICAL CONTRACTORS INC                      $13,655



                                                        Page 8 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 33 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.32    CAROL HAINES                                                10/20/2022            $4,232          Secured debt
        2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
         STE. E-101                                                 11/29/2022            $5,533
                                                                                                          Suppliers or vendors
        AUSTIN, TX 78704                                                                                  Services
                                                                                                          Other Expense Reimburseme

                                                     TOTAL CAROL HAINES                    $9,765

3.33    CAROLINA RECYCLING & CONSULTING LLC                         9/26/2022             $1,100          Secured debt
        PO BOX 1461                                                                                       Unsecured loan repayment
        MATTHEWS, NC 28106                                          10/3/2022             $1,100
                                                                                                          Suppliers or vendors
                                                                    10/11/2022            $2,200          Services
                                                                    10/18/2022            $2,200          Other

                                                                    10/25/2022            $1,100
                                                                    11/7/2022             $2,200
                                                                    11/14/2022            $1,100
                                                                    11/23/2022            $1,100
                                                                    11/30/2022            $1,100
                                                                    12/13/2022            $1,100




                             TOTAL CAROLINA RECYCLING & CONSULTING LLC                    $14,300

3.34    CDW LLC                                                     9/26/2022            $122,454         Secured debt
        PO BOX 75723                                                                                      Unsecured loan repayment
        CHICAGO, IL 60675-5723                                      10/3/2022             $27,153
                                                                                                          Suppliers or vendors
                                                                    10/11/2022             $332           Services
                                                                    10/18/2022            $49,750         Other

                                                                    10/25/2022            $72,675
                                                                    11/7/2022             $86,233




                                                           TOTAL CDW LLC                 $358,598




                                                        Page 9 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 34 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
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adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.35    CHARTER COMMUNICATIONS HOLDING LLC                          9/26/2022             $1,935          Secured debt
        PO BOX 60074                                                                                      Unsecured loan repayment
        CITY OF INDUSTRY, CA 91716-0074                            10/11/2022             $5,743
                                                                                                          Suppliers or vendors
                                                                   10/28/2022             $15,357         Services
                                                                                                          Other



                            TOTAL CHARTER COMMUNICATIONS HOLDING LLC                      $23,035

3.36    CHARTER COMMUNICATIONS HOLDINGS, LLC                        12/6/2022             $15,357         Secured debt
        PO BOX 60074                                                                                      Unsecured loan repayment
        CITY OF INDUSTRY, CA 91716-0074                                                                   Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                          TOTAL CHARTER COMMUNICATIONS HOLDINGS, LLC                      $15,357

3.37    CHRISALLEN DAVID HUNT                                      10/24/2022             $7,680          Secured debt
        2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
        STE. E-101                                                                                        Suppliers or vendors
        AUSTIN, TX 78704                                                                                  Services
                                                                                                          Other Severance
                                           TOTAL CHRISALLEN DAVID HUNT                     $7,680

3.38    CHROMA SYSTEM SOLUTIONS, INC                                9/26/2022             $25,010         Secured debt
        19772 PAULING                                                                                     Unsecured loan repayment
        FOOTHILL RANCH, CA 92610                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                   TOTAL CHROMA SYSTEM SOLUTIONS, INC                     $25,010




                                                       Page 10 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 35 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


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adjustment).
       None


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                                                                                           Value               or Transfer


3.39    CITY OF DENTON - ELECTRIC                                   9/23/2022            $245,240          Secured debt
        215 E MCKINNEY ST                                                                                  Unsecured loan repayment
        DENTON, TX 76201                                            10/3/2022            $1,905,669
                                                                                                           Suppliers or vendors
                                                                    10/7/2022            $582,146          Services
                                                                   10/14/2022            $1,791,440        Other

                                                                   10/21/2022            $442,472
                                                                   10/28/2022            $671,809
                                                                    11/4/2022            $543,934
                                                                   11/10/2022            $977,142
                                                                   11/18/2022            $266,635
                                                                   11/28/2022            $1,300,920
                                                                    12/2/2022            $1,446,888
                                                                    12/9/2022            $738,876
                                                                   12/16/2022            $711,269




                                         TOTAL CITY OF DENTON - ELECTRIC              $11,624,439

3.40    CITY OF DENTON - UTILITIES                                 10/11/2022            $332,798          Secured debt
        PO BOX 660150                                                                                      Unsecured loan repayment
        DALLAS, TX 75266                                            11/4/2022            $430,524
                                                                                                           Suppliers or vendors
                                                                    11/7/2022              $573            Services
                                                                    11/9/2022             $6,000           Other

                                                                   11/30/2022            $675,435
                                                                    12/2/2022             $10,075
                                                                    12/7/2022              $525




                                         TOTAL CITY OF DENTON - UTILITIES              $1,455,930

3.41    CLOUDFLARE INC                                              11/7/2022             $11,010          Secured debt
        101 TOWNSEND STREET                                                                                Unsecured loan repayment
        SAN FRANCISCO, CA 95054                                    12/13/2022             $5,505
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                                   TOTAL CLOUDFLARE INC                   $16,515



                                                       Page 11 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 36 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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       None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.42    COBBS ALLEN CAPITAL LLC                                    12/16/2022            $4,634,743        Secured debt
        115 OFFICE PARK DRIVE                                                                              Unsecured loan repayment
        SUITE 200                                                                                          Suppliers or vendors
        BIRMINGHAM, AL 35223                                                                               Services
                                                                                                           Other
                                         TOTAL COBBS ALLEN CAPITAL LLC                 $4,634,743

3.43    COLLIER ELECTRICAL SERVICE INC                             10/11/2022              $887            Secured debt
        PO BOX 499                                                                                         Unsecured loan repayment
        CALVERT CITY, KY 42029                                     10/28/2022             $28,853
                                                                                                           Suppliers or vendors
                                                                   11/14/2022             $49,711          Services
                                                                   12/13/2022             $1,396           Other




                                  TOTAL COLLIER ELECTRICAL SERVICE INC                    $80,847

3.44    COMNET COMMUNICATIONS LLC                                  10/28/2022             $23,387          Secured debt
        1420 LAKESIDE PARKWAY                                                                              Unsecured loan repayment
        STE 110                                                     12/1/2022            $247,937
                                                                                                           Suppliers or vendors
        FLOWER MOUND, TX 75028                                                                             Services
                                                                                                           Other

                                     TOTAL COMNET COMMUNICATIONS LLC                     $271,325

3.45    COMPENSATION ADVISORY PARTNERS, LLC                         11/7/2022            $150,495          Secured debt
        1133 AVENUE OF THE AMERICAS                                                                        Unsecured loan repayment
        14TH FLOOR                                                 11/30/2022             $14,490
                                                                                                           Suppliers or vendors
        NEW YORK, NY 10036                                         12/16/2022             $42,295          Services
                                                                                                           Other



                           TOTAL COMPENSATION ADVISORY PARTNERS, LLC                     $207,280

3.46    COMPUTERSHARE INC                                          10/18/2022             $2,317           Secured debt
        DEPT CH 19228                                                                                      Unsecured loan repayment
        PALATINE, IL 60055                                          11/7/2022             $8,461
                                                                                                           Suppliers or vendors
                                                                   11/14/2022             $1,766           Services
                                                                    12/6/2022             $1,700           Other

                                                                   12/13/2022             $2,317




                                              TOTAL COMPUTERSHARE INC                     $16,561


                                                       Page 12 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 37 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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       None


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                                                                                           Value               or Transfer


3.47    CONSILIO LLC                                               11/23/2022             $28,937          Secured debt
        1828 L STREET NW                                                                                   Unsecured loan repayment
        SUITE 1070                                                  12/6/2022             $52,165
                                                                                                           Suppliers or vendors
        WASHINGTON, DC 20036                                                                               Services
                                                                                                           Other

                                                      TOTAL CONSILIO LLC                  $81,102

3.48    CONSOLIDATED ELECTRIC DISTRIBUTORS INC                      9/26/2022            $300,000          Secured debt
        1920 WESTRIDGE DR                                                                                  Unsecured loan repayment
        IRVING, TX 75038                                           10/11/2022            $500,000
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                         TOTAL CONSOLIDATED ELECTRIC DISTRIBUTORS INC                    $800,000

3.49    CONSTELLATION NEW ENERGY, INC                              10/11/2022            $694,674          Secured debt
        1310 POINT STREET                                                                                  Unsecured loan repayment
        8TH FLOOR                                                  10/21/2022            $633,833
                                                                                                           Suppliers or vendors
        BALTIMORE, MD 21231                                        11/18/2022            $2,517,981        Services
                                                                                                           Other



                                   TOTAL CONSTELLATION NEW ENERGY, INC                 $3,846,488

3.50    COOLEY LLP                                                  9/30/2022            $430,384          Secured debt
        3 EMBARCADERO CENTER, 20TH FLOOR                                                                   Unsecured loan repayment
        SAN FRANCISCO, CA 94111-4004                                                                       Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                                       TOTAL COOLEY LLP                  $430,384

3.51    COONROD ELECTRIC CO LLC                                     9/26/2022            $114,568          Secured debt
        PO BOX D                                                                                           Unsecured loan repayment
        CORPUS CHRISTI, TX 78401                                   10/18/2022             $12,002
                                                                                                           Suppliers or vendors
                                                                   10/25/2022             $36,843          Services
                                                                   10/28/2022             $23,615          Other

                                                                   11/14/2022             $41,955




                                        TOTAL COONROD ELECTRIC CO LLC                    $228,983




                                                       Page 13 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 38 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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       None


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                                                                                           Value               or Transfer


3.52    CROSSCOUNTRY CONSULTING LLC                                10/11/2022              $639            Secured debt
        1600 TYSONS BLVD, SUITE 1100                                                                       Unsecured loan repayment
        MCLEAN, VA 22102-2874                                      12/19/2022             $22,286
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                    TOTAL CROSSCOUNTRY CONSULTING LLC                     $22,925

3.53    DALTON SERVICE INC                                          12/6/2022            $145,000          Secured debt
        1220 SOUTH THORNTON AVE                                                                            Unsecured loan repayment
        PO BOX 968                                                                                         Suppliers or vendors
        DALTON, GA 30722                                                                                   Services
                                                                                                           Other
                                               TOTAL DALTON SERVICE INC                  $145,000

3.54    DALTON UTILITIES/OPTILINK                                   9/23/2022           $14,157,925        Secured debt
        PO BOX 869                                                                                         Unsecured loan repayment
        DALTON, GA 30722-0869                                      10/25/2022           $13,288,237
                                                                                                           Suppliers or vendors
                                                                   11/28/2022           $10,967,601        Services
                                                                    12/6/2022            $1,684,557        Other

                                                                   12/13/2022            $1,700,780




                                         TOTAL DALTON UTILITIES/OPTILINK              $41,799,099

3.55    DANIEL JAY ROBAR                                           11/14/2022             $11,058          Secured debt
        2407 S. CONGRESS AVE                                                                               Unsecured loan repayment
        STE. E-101                                                                                         Suppliers or vendors
        AUSTIN, TX 78704                                                                                   Services
                                                                                                           Other Severance
                                                 TOTAL DANIEL JAY ROBAR                   $11,058

3.56    DAVID WACHSMAN                                             10/11/2022             $10,000          Secured debt
        99 WALL STREET SUITE 2750                                                                          Unsecured loan repayment
        NEW YORK, NY 10005                                                                                 Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                                  TOTAL DAVID WACHSMAN                    $10,000




                                                       Page 14 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 39 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


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       None


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                                                                                           Value               or Transfer


3.57    DE LAGE LANDEN FINANCIAL SERVICES INC                       10/4/2022             $17,661          Secured debt
        PO BOX 41602                                                                                       Unsecured loan repayment
        PHILADELPHIA, PA 19101                                     10/13/2022            $471,157
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                           TOTAL DE LAGE LANDEN FINANCIAL SERVICES INC                   $488,817

3.58    DELAWARE SECRETARY OF STATE                                 12/5/2022             $80,000          Secured debt
        PO BOX 5509                                                                                        Unsecured loan repayment
        BINGHAMTON, NY 13902-5509                                                                          Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                    TOTAL DELAWARE SECRETARY OF STATE                     $80,000

3.59    DELL FINANCIAL SERVICES LLC                                10/18/2022             $4,870           Secured debt
        PO BOX 6547                                                                                        Unsecured loan repayment
        CAROL STREAM, IL 60197-6547                                11/23/2022             $4,943
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                      TOTAL DELL FINANCIAL SERVICES LLC                    $9,814

3.60    DELOITTE TAX LLP                                            9/26/2022             $23,206          Secured debt
        PO BOX 844736                                                                                      Unsecured loan repayment
        DALLAS, TX 75284                                           10/11/2022             $15,000
                                                                                                           Suppliers or vendors
                                                                   10/18/2022             $73,991          Services
                                                                   12/13/2022             $15,200          Other

                                                                   12/19/2022            $173,349




                                                  TOTAL DELOITTE TAX LLP                 $300,746

3.61    DEPARTMENT OF HOMELAND SECURITY                             9/23/2022            $2,379,902        Secured debt
        PO BOX 979126                                                                                      Unsecured loan repayment
        ST. LOUIS, MO 63197                                        10/25/2022            $274,794
                                                                                                           Suppliers or vendors
                                                                   11/23/2022            $617,416          Services
                                                                                                           Other



                                TOTAL DEPARTMENT OF HOMELAND SECURITY                  $3,272,112




                                                       Page 15 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 40 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.62    DG INVESTMENT INTERMEDIATE HOLDINGS 2 INC                   10/3/2022             $13,665         Secured debt
        35257 EAGLE WAY                                                                                   Unsecured loan repayment
        CHICAGO, IL 60678-1352                                     10/28/2022             $73,653
                                                                                                          Suppliers or vendors
                                                                    11/7/2022             $1,074          Services
                                                                    12/6/2022            $114,853         Other




                       TOTAL DG INVESTMENT INTERMEDIATE HOLDINGS 2 INC                   $203,244

3.63    DIGITAL CURRENCY GROUP, INC                                10/25/2022             $10,738         Secured debt
        290 HARBOR DRIVE, 4TH FLOOR                                                                       Unsecured loan repayment
        STAMFORD, CT 06902                                                                                Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                      TOTAL DIGITAL CURRENCY GROUP, INC                   $10,738

3.64    DIGITAL REALTY TRUST LP                                     9/26/2022               $38           Secured debt
        PO BOX 419729                                                                                     Unsecured loan repayment
        BOSTON, MA 02241-9729                                       10/3/2022             $4,533
                                                                                                          Suppliers or vendors
                                                                   11/30/2022             $4,575          Services
                                                                    12/6/2022             $4,533          Other




                                          TOTAL DIGITAL REALTY TRUST LP                   $13,678

3.65    DOCUSIGN INC                                               12/13/2022             $8,873          Secured debt
        PO BOX 735445                                                                                     Unsecured loan repayment
        DALLAS, TX 75373-5445                                                                             Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                      TOTAL DOCUSIGN INC                   $8,873




                                                       Page 16 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 41 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


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       None


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                                                                                           Value             or Transfer


3.66    DON CHERRY                                                  9/26/2022             $1,020          Secured debt
        3270 HAMPTON AVE                                                                                  Unsecured loan repayment
        ST. LOUIS, MO 63139                                        10/11/2022             $6,286
                                                                                                          Suppliers or vendors
                                                                   10/25/2022             $8,096          Services
                                                                   10/28/2022             $7,411          Other

                                                                    11/7/2022             $14,436
                                                                   11/14/2022             $3,903
                                                                   11/23/2022              $635
                                                                   11/30/2022             $4,809
                                                                    12/6/2022             $6,161
                                                                   12/13/2022             $2,400




                                                       TOTAL DON CHERRY                   $55,158

3.67    DONNELLEY FINANCIAL LLC                                     9/26/2022            $182,376         Secured debt
        PO BOX 842282                                                                                     Unsecured loan repayment
        BOSTON, MA 02284-2282                                      10/25/2022            $190,769
                                                                                                          Suppliers or vendors
                                                                    11/7/2022             $11,738         Services
                                                                   11/23/2022             $2,260          Other

                                                                   11/30/2022              $320
                                                                    12/6/2022             $2,121
                                                                   12/13/2022              $785




                                         TOTAL DONNELLEY FINANCIAL LLC                   $390,369

3.68    DOUGLAS L GRIFFITH                                          9/26/2022             $51,944         Secured debt
        316 DOMINION CIRCLE                                                                               Unsecured loan repayment
        KNOXVILLE, TN 37934                                         10/3/2022             $51,944
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                               TOTAL DOUGLAS L GRIFFITH                  $103,888




                                                       Page 17 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 42 of 130

Core Scientific Operating Company                                                                      Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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       None


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                                                                                            Value               or Transfer


3.69    DSV AIR AND SEA INC                                         11/15/2022             $8,584           Secured debt
        4243 OLYMPIC BLVD                                                                                   Unsecured loan repayment
        SUITE 250                                                                                           Suppliers or vendors
        ERLANGER, KY 41018                                                                                  Services
                                                                                                            Other
                                                 TOTAL DSV AIR AND SEA INC                  $8,584

3.70    DUKE ENERGY CORPORATION                                      10/4/2022            $2,144,492        Secured debt
        9700 DAVID TAYLOR DR. MAIL CODE: DT01X                                                              Unsecured loan repayment
        CHARLOTTE, NC 28262                                          11/2/2022            $2,524,977
                                                                                                            Suppliers or vendors
                                                                    11/30/2022            $2,107,259        Services
                                                                                                            Other



                                       TOTAL DUKE ENERGY CORPORATION                    $6,776,727

3.71    EATON CORPORATION                                           10/18/2022             $20,615          Secured debt
        1000 CHERRINGTON PKW                                                                                Unsecured loan repayment
        MOON TOWNSHIP, PA 15108                                                                             Suppliers or vendors
                                                                                                            Services
                                                                                                            Other
                                                 TOTAL EATON CORPORATION                   $20,615

3.72    EQUIPMENT DEPOT OF KENTUCKY INC                              9/26/2022             $2,708           Secured debt
        922 E DIVISION ST                                                                                   Unsecured loan repayment
        EVANSVILLE, IN 47711-5667                                    10/3/2022             $2,708
                                                                                                            Suppliers or vendors
                                                                    10/11/2022             $3,137           Services
                                                                    10/18/2022              $907            Other

                                                                    10/25/2022               $44
                                                                    10/28/2022             $1,717
                                                                    11/14/2022              $907
                                                                    11/30/2022             $1,717
                                                                    12/13/2022             $3,774




                                TOTAL EQUIPMENT DEPOT OF KENTUCKY INC                      $17,620




                                                        Page 18 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 43 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


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       None


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                                                                                           Value               or Transfer


3.73    ERNST AND YOUNG US LLP                                     10/18/2022             $4,227           Secured debt
        PNC BANK C/O ERNST & YOUNG US LLP                                                                  Unsecured loan repayment
        3712 SOLUTIONS CENTER                                      11/22/2022            $3,446,900
                                                                                                           Suppliers or vendors
        CHICAGO, IL 60677                                          12/15/2022            $621,134          Services
                                                                                                           Other



                                          TOTAL ERNST AND YOUNG US LLP                 $4,072,261

3.74    FARM & RANCH CONSTRUCTION, LLC                             10/25/2022             $37,540          Secured debt
        PO BOX 69                                                                                          Unsecured loan repayment
        IREDELL, TX 76649                                                                                  Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                 TOTAL FARM & RANCH CONSTRUCTION, LLC                     $37,540

3.75    FASTENAL COMPANY                                           10/11/2022             $7,466           Secured debt
        PO BOX 1286                                                                                        Unsecured loan repayment
        WINONA, MN 55987-1286                                      10/25/2022             $22,785
                                                                                                           Suppliers or vendors
                                                                    11/7/2022             $1,249           Services
                                                                   11/14/2022              $432            Other

                                                                   11/23/2022              $537




                                               TOTAL FASTENAL COMPANY                     $32,469




                                                       Page 19 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 44 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.76    FEDERAL EXPRESS CORPORATION                                 9/26/2022             $2,565          Secured debt
        PO BOX 94515                                                                                      Unsecured loan repayment
        PALATINE, IL 60094-45151                                   10/11/2022              $267
                                                                                                          Suppliers or vendors
                                                                   10/18/2022              $728           Services
                                                                   10/25/2022             $1,286          Other

                                                                   10/28/2022             $1,978
                                                                    11/7/2022             $1,598
                                                                   11/14/2022             $3,245
                                                                   11/23/2022              $410
                                                                   11/30/2022              $318
                                                                    12/6/2022               $87
                                                                   12/19/2022              $361




                                   TOTAL FEDERAL EXPRESS CORPORATION                      $12,844

3.77    FIDELITY CAPITAL PARTNERS LLC                              10/18/2022             $7,447          Secured debt
        19600 FAIRCHILD RD                                                                                Unsecured loan repayment
        SUITE 120                                                   11/9/2022             $7,447
                                                                                                          Suppliers or vendors
        IRVINE, CA 92612                                           11/17/2022             $7,447          Services
                                                                                                          Other



                                      TOTAL FIDELITY CAPITAL PARTNERS LLC                 $22,340

3.78    FIREBLOCKS INC                                              10/3/2022             $10,443         Secured debt
        221 RIVER STREET, 9TH FLOOR                                                                       Unsecured loan repayment
        HOBOKEN, NJ 07030                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                    TOTAL FIREBLOCKS INC                  $10,443

3.79    FISHMAN STEWART PLLC                                       10/18/2022             $4,797          Secured debt
        PO BOX 74008661                                                                                   Unsecured loan repayment
        CHICAGO, IL 60674                                          11/10/2022             $31,232
                                                                                                          Suppliers or vendors
                                                                   11/23/2022             $5,347          Services
                                                                   12/19/2022            $198,728         Other




                                             TOTAL FISHMAN STEWART PLLC                  $240,104


                                                       Page 20 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 45 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
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within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575
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adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.80    FMR LLC                                                    11/30/2022             $9,330          Secured debt
        88 BLACK FALCON AVE, SUITE 167                                                                    Unsecured loan repayment
        BOSTON, MA 02210                                                                                  Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                           TOTAL FMR LLC                   $9,330

3.81    FRESH LIANNE AVILA                                         11/14/2022             $12,019         Secured debt
        2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
        STE. E-101                                                                                        Suppliers or vendors
        AUSTIN, TX 78704                                                                                  Services
                                                                                                          Other Severance
                                                TOTAL FRESH LIANNE AVILA                  $12,019

3.82    FRONTIER COMMUNICATIONS AMERICA INC                        10/12/2022             $2,650          Secured debt
        PO BOX 740407                                                                                     Unsecured loan repayment
        CINCINNATI, OH 45274-0407                                  10/24/2022             $1,190
                                                                                                          Suppliers or vendors
                                                                   11/14/2022             $2,650          Services
                                                                   11/22/2022             $1,190          Other

                                                                   12/13/2022             $2,650




                            TOTAL FRONTIER COMMUNICATIONS AMERICA INC                     $10,330

3.83    FROST BROWN TODD ATTORNEYS LLC                              9/26/2022             $4,832          Secured debt
        400 WEST MARKET STREET                                                                            Unsecured loan repayment
        LOUISVILLE, KY 40202                                        11/7/2022             $13,247
                                                                                                          Suppliers or vendors
                                                                   12/13/2022             $5,043          Services
                                                                                                          Other



                                TOTAL FROST BROWN TODD ATTORNEYS LLC                      $23,122

3.84    GAFFNEY OVERHEAD DOOR COMPANY INC                          12/13/2022             $8,551          Secured debt
        307 38TH STREET                                                                                   Unsecured loan repayment
        COLUMBUS,, GA 31904                                                                               Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                            TOTAL GAFFNEY OVERHEAD DOOR COMPANY INC                        $8,551




                                                       Page 21 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 46 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.85    GARIC INC                                                   10/3/2022             $41,538          Secured debt
        PO BOX 6967                                                                                        Unsecured loan repayment
        CAROL STREAM, IL 60197-6967                                10/11/2022            $183,028
                                                                                                           Suppliers or vendors
                                                                    11/1/2022             $34,761          Services
                                                                    12/2/2022             $43,421          Other




                                                          TOTAL GARIC INC                $302,749

3.86    GENUINE MCCARTHY ENTERPRISES INC                            9/26/2022            $4,103,429        Secured debt
        12851 MANCHESTER ROAD                                                                              Unsecured loan repayment
        ST LOUIS, MO 63131                                         10/11/2022            $1,399,749
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                TOTAL GENUINE MCCARTHY ENTERPRISES INC                 $5,503,178

3.87    GEORGIA DEPARTMENT OF REVENUE                              10/24/2022             $78,186          Secured debt
        PROCESSING CENTER                                                                                  Unsecured loan repayment
        PO BOX 105136                                              11/23/2022              $315
                                                                                                           Suppliers or vendors
        ATLANTA, GA 30348-5136                                     12/20/2022             $2,943           Services
                                                                                                           Other Taxes



                                 TOTAL GEORGIA DEPARTMENT OF REVENUE                      $81,443

3.88    GERRI MILLER                                               11/14/2022             $9,135           Secured debt
        2407 S. CONGRESS AVE                                                                               Unsecured loan repayment
        STE. E-101                                                                                         Suppliers or vendors
        AUSTIN, TX 78704                                                                                   Services
                                                                                                           Other Severance
                                                      TOTAL GERRI MILLER                   $9,135




                                                       Page 22 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 47 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.89    GLOBALIZATION PARTNERS LLC                                  9/29/2022             $14,236         Secured debt
        75 FEDERAL ST                                                                                     Unsecured loan repayment
        17TH FLOOR                                                 10/18/2022             $14,482
                                                                                                          Suppliers or vendors
        BOSTON, MA 02110                                           10/28/2022             $13,949         Services
                                                                   11/15/2022             $14,849         Other

                                                                    12/5/2022             $14,371
                                                                   12/13/2022             $15,056




                                     TOTAL GLOBALIZATION PARTNERS LLC                     $86,941

3.90    GRUBHUB HOLDINGS INC                                        9/26/2022              $664           Secured debt
        111 W WASHINGTON ST                                                                               Unsecured loan repayment
        STE 2100                                                    10/3/2022              $471
                                                                                                          Suppliers or vendors
        CHICAGO, IL 60602                                          10/11/2022              $729           Services
                                                                   10/18/2022             $1,231          Other

                                                                   10/25/2022             $1,007
                                                                   10/28/2022              $496
                                                                    11/7/2022             $2,436
                                                                   11/14/2022             $2,028
                                                                   11/23/2022              $408
                                                                   11/30/2022              $314
                                                                    12/6/2022              $487
                                                                   12/13/2022             $1,037




                                            TOTAL GRUBHUB HOLDINGS INC                    $11,308

3.91    GVN GROUP CORP                                              9/26/2022             $56,073         Secured debt
        486 S OPDYKE RD                                                                                   Unsecured loan repayment
        PONITAC, MI 48341                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                  TOTAL GVN GROUP CORP                    $56,073




                                                       Page 23 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 48 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.92    HANNAN SUPPLY COMPANY INC                                  10/18/2022              $125            Secured debt
        1565 N 8TH STREET                                                                                  Unsecured loan repayment
        PADUCAH, KY 42001                                          10/28/2022             $26,246
                                                                                                           Suppliers or vendors
                                                                    11/7/2022             $1,177           Services
                                                                   11/23/2022              $708            Other

                                                                    12/6/2022              $205




                                      TOTAL HANNAN SUPPLY COMPANY INC                     $28,462

3.93    HARDIK MODI                                                11/14/2022             $8,654           Secured debt
        2407 S. CONGRESS AVE                                                                               Unsecured loan repayment
        STE. E-101                                                                                         Suppliers or vendors
        AUSTIN, TX 78704                                                                                   Services
                                                                                                           Other Severance
                                                       TOTAL HARDIK MODI                   $8,654

3.94    HARPER CONSTRUCTION COMPANY, INC                            10/3/2022            $1,001,513        Secured debt
        2241 KETTNER BLVD STE 300                                                                          Unsecured loan repayment
        SAN DIEGO, CA 92101                                                                                Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                TOTAL HARPER CONSTRUCTION COMPANY, INC                 $1,001,513

3.95    HEIDE C CONAHAN                                            11/28/2022             $12,620          Secured debt
        2407 S. CONGRESS AVE                                                                               Unsecured loan repayment
        STE. E-101                                                                                         Suppliers or vendors
        AUSTIN, TX 78704                                                                                   Services
                                                                                                           Other Severance
                                                  TOTAL HEIDE C CONAHAN                   $12,620




                                                       Page 24 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 49 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


       Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
       None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.96    HERC RENTALS                                                9/26/2022             $2,202          Secured debt
        PO BOX 936257                                                                                     Unsecured loan repayment
        ATLANTA, GA 31193                                           10/3/2022             $71,111
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $37,467         Services
                                                                   10/18/2022             $15,597         Other

                                                                   10/25/2022             $10,826
                                                                   10/28/2022             $36,077
                                                                    11/7/2022             $57,465
                                                                   11/14/2022             $4,219
                                                                   11/23/2022             $39,577
                                                                   11/30/2022             $19,979
                                                                    12/6/2022             $58,550
                                                                   12/13/2022             $72,673




                                                     TOTAL HERC RENTALS                  $425,744

3.97    HIREQUEST LLC                                               10/3/2022             $4,952          Secured debt
        111 SPRINGHALL DR                                                                                 Unsecured loan repayment
        GOOSE GREEK, SC 29445                                      10/11/2022             $3,553
                                                                                                          Suppliers or vendors
                                                                   10/25/2022             $14,279         Services
                                                                   10/28/2022             $33,177         Other

                                                                    11/7/2022            $166,433
                                                                   11/14/2022             $6,083
                                                                   11/23/2022             $4,307
                                                                   11/30/2022             $4,939
                                                                    12/6/2022             $4,473
                                                                   12/13/2022             $20,859
                                                                   12/19/2022             $22,503




                                                    TOTAL HIREQUEST LLC                  $285,559




                                                       Page 25 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 50 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.98     HM TECH LLC                                               10/18/2022             $15,000         Secured debt
         426 S MAPLE ST                                                                                   Unsecured loan repayment
         GRAHAM, NC 27253                                          10/31/2022             $16,005
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                                       TOTAL HM TECH LLC                  $31,005

3.99     HOLLIWOOD LLC                                              10/3/2022             $45,291         Secured debt
         412 ADAMS STREET                                                                                 Unsecured loan repayment
         PADUCAH, KY 42003                                          11/1/2022             $45,291
                                                                                                          Suppliers or vendors
                                                                    12/2/2022             $45,291         Services
                                                                                                          Other



                                                    TOTAL HOLLIWOOD LLC                  $135,873

3.100    HOME VIEW TECHNOLOGIES INC                                 9/26/2022             $15,526         Secured debt
         1226 S 1480 W                                                                                    Unsecured loan repayment
         OREM, UT 84058                                             10/3/2022             $15,526
                                                                                                          Suppliers or vendors
                                                                   10/25/2022             $8,022          Services
                                                                   10/28/2022             $2,588          Other

                                                                   11/14/2022             $2,588
                                                                   11/23/2022             $5,175
                                                                   12/19/2022             $51,754




                                      TOTAL HOME VIEW TECHNOLOGIES INC                   $101,178

3.101    HUBAND-MANTOR CONSTRUCTION INC                            10/28/2022             $27,352         Secured debt
         43000 IH-10 WEST                                                                                 Unsecured loan repayment
         BOERNE, TX 78006                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                 TOTAL HUBAND-MANTOR CONSTRUCTION INC                     $27,352

3.102    ICS INC                                                   11/14/2022             $47,263         Secured debt
         2500 STATE MILL RD                                                                               Unsecured loan repayment
         GRAND FORKS, ND 58203                                                                            Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                             TOTAL ICS INC                $47,263




                                                       Page 26 of 54 to Question 3
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 51 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.103    IEWC CORP                                                  9/26/2022             $17,642         Secured debt
         PO BOX 772582                                                                                    Unsecured loan repayment
         DETROIT, MI 48277-2582                                    10/11/2022             $16,099
                                                                                                          Suppliers or vendors
                                                                   12/13/2022             $8,957          Services
                                                                                                          Other



                                                         TOTAL IEWC CORP                  $42,698

3.104    IGEM COMMUNICATIONS HOLDING INC                            9/26/2022             $6,408          Secured debt
         PO BOX 227372                                                                                    Unsecured loan repayment
         DALLAS, TX 75222-7372                                     10/25/2022             $4,303
                                                                                                          Suppliers or vendors
                                                                   11/30/2022             $4,303          Services
                                                                                                          Other



                                  TOTAL IGEM COMMUNICATIONS HOLDING INC                   $15,015

3.105    JACOB JOHN NOVAK                                           10/5/2022             $88,889         Secured debt
         3301 BEVERLY DRIVE                                                                               Unsecured loan repayment
         DALLAS, TX 75205                                           11/4/2022             $88,889
                                                                                                          Suppliers or vendors
                                                                    12/5/2022             $80,556         Services
                                                                                                          Other



                                                TOTAL JACOB JOHN NOVAK                   $258,333

3.106    JASON FRANKLIN                                            11/14/2022             $17,788         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                   TOTAL JASON FRANKLIN                   $17,788

3.107    JASON M TRAYLER                                            11/1/2022             $8,400          Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                  TOTAL JASON M TRAYLER                    $8,400




                                                       Page 27 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 52 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.108    JCL ENERGY LLC                                             10/5/2022            $1,432,669        Secured debt
         892 S DOCK ST                                                                                     Unsecured loan repayment
         SHARON, PA 16146                                                                                  Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                                   TOTAL JCL ENERGY LLC                $1,432,669

3.109    JEFFREY PRATT                                              9/27/2022             $2,789           Secured debt
         2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
          STE. E-101                                               10/20/2022             $7,887
                                                                                                           Suppliers or vendors
         AUSTIN, TX 78704                                           11/1/2022             $2,246           Services
                                                                   11/16/2022              $225            Other Expense Reimburseme

                                                                    12/1/2022             $1,446
                                                                   12/12/2022             $5,564




                                                    TOTAL JEFFREY PRATT                   $20,158

3.110    JOHN R WILLIAMS                                           10/25/2022             $1,942           Secured debt
         3523 SCOTT FITTS RD                                                                               Unsecured loan repayment
         MURRAY, KY 42071                                          11/23/2022             $6,600
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                                   TOTAL JOHN R WILLIAMS                   $8,542

3.111    JOHN S LAWRENCE                                           11/14/2022             $11,538          Secured debt
         2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
         STE. E-101                                                                                        Suppliers or vendors
         AUSTIN, TX 78704                                                                                  Services
                                                                                                           Other Severance
                                                 TOTAL JOHN S LAWRENCE                    $11,538

3.112    JONATHAN ELLWEIN                                          10/24/2022             $8,280           Secured debt
         2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
         STE. E-101                                                                                        Suppliers or vendors
         AUSTIN, TX 78704                                                                                  Services
                                                                                                           Other Severance
                                                TOTAL JONATHAN ELLWEIN                     $8,280




                                                       Page 28 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 53 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.113    JONATHAN RAY MOORE                                        11/14/2022             $10,577         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                             TOTAL JONATHAN RAY MOORE                     $10,577

3.114    JORDAN B HOOTEN                                            10/7/2022             $13,077         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                 TOTAL JORDAN B HOOTEN                    $13,077

3.115    KAORIKO NAKANO                                            11/14/2022             $7,692          Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                  TOTAL KAORIKO NAKANO                     $7,692

3.116    KARA K KNIGHT                                             11/28/2022             $13,462         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                     TOTAL KARA K KNIGHT                  $13,462




                                                       Page 29 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 54 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.117    KELLY SERVICES INC                                         9/26/2022              $879           Secured debt
         1212 SOLUSTIONS CENTER                                                                           Unsecured loan repayment
         CHICAGO, IL 60677-1002                                     10/3/2022             $40,160
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $2,054          Services
                                                                   10/18/2022             $3,081          Other

                                                                   10/25/2022             $3,596
                                                                   10/28/2022             $3,087
                                                                    11/7/2022             $8,669
                                                                   11/14/2022             $4,590
                                                                   11/23/2022             $6,506
                                                                   11/30/2022             $4,179
                                                                    12/6/2022             $4,801
                                                                   12/13/2022             $3,241
                                                                   12/19/2022             $6,340




                                                TOTAL KELLY SERVICES INC                  $91,184

3.118    KENTUCKY DEPARTMENT OF REVENUE                            10/24/2022            $328,519         Secured debt
         501 HIGH STREET​                                                                                 Unsecured loan repayment
         FRANKFORT, KY 40601                                       11/23/2022             $1,778
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other Taxes

                                TOTAL KENTUCKY DEPARTMENT OF REVENUE                     $330,296

3.119    KEVIN ERET                                                11/14/2022             $14,423         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                        TOTAL KEVIN ERET                  $14,423

3.120    KYLE D BUCKETT                                            12/20/2022             $28,846         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                   TOTAL KYLE D BUCKETT                   $28,846




                                                       Page 30 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 55 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
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within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575
(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.121    L C PERSONNEL INC                                          9/26/2022             $1,329          Secured debt
         PO BOX 1628                                                                                      Unsecured loan repayment
         CEDAR PARK, TX 78630                                       10/3/2022             $1,329
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $1,329          Services
                                                                   10/18/2022             $1,229          Other

                                                                   10/25/2022             $1,329
                                                                   10/28/2022             $1,329
                                                                   11/14/2022             $3,364
                                                                   11/23/2022             $1,013




                                                TOTAL L C PERSONNEL INC                   $12,250

3.122    LAKE EFFECT TRAFFIC LLC                                   10/18/2022             $4,560          Secured debt
         5824 LAUDER CT                                                                                   Unsecured loan repayment
         GRANGER, IN 46350                                         10/25/2022             $40,920
                                                                                                          Suppliers or vendors
                                                                   10/28/2022             $57,906         Services
                                                                    11/7/2022             $32,700         Other

                                                                   11/14/2022             $15,392
                                                                   11/16/2022             $8,000
                                                                   11/23/2022             $64,826
                                                                   11/30/2022             $65,176
                                                                    12/6/2022             $5,320




                                          TOTAL LAKE EFFECT TRAFFIC LLC                  $294,800

3.123    LARRY BEN LEDFORD JR                                       9/26/2022             $2,600          Secured debt
         299 PENLAND RD                                                                                   Unsecured loan repayment
         BRASSTOWN, NC 28902                                       10/28/2022             $5,200
                                                                                                          Suppliers or vendors
                                                                   12/13/2022             $2,600          Services
                                                                                                          Other



                                            TOTAL LARRY BEN LEDFORD JR                    $10,400




                                                       Page 31 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 56 of 130

Core Scientific Operating Company                                                                      Case Number:           22-90343


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adjustment).
        None


  Creditor's Name and Address                                            Dates          Total Amount or     Reasons for Payment
                                                                                              Value             or Transfer


3.124    LEVEL 3 FINANCING INC (LUMEN)                                 9/26/2022             $24,595        Secured debt
         1025 ELDORADO BLVD                                                                                 Unsecured loan repayment
         BROOMFIELD, CO 80021                                         10/11/2022              $701
                                                                                                            Suppliers or vendors
                                                                      10/25/2022             $24,030        Services
                                                                      11/30/2022             $24,030        Other

                                                                       12/6/2022              $701
                                                                      12/13/2022             $22,781




                                         TOTAL LEVEL 3 FINANCING INC (LUMEN)                 $96,838

3.125    LIB FIN LLC                                                   9/26/2022             $1,881         Secured debt
         1312 17TH ST PMB 70387                                                                             Unsecured loan repayment
         DENVER, CO 80202                                             10/18/2022             $8,431
                                                                                                            Suppliers or vendors
                                                                      11/10/2022              $788          Services
                                                                      12/13/2022             $4,469         Other




                                                           TOTAL LIB FIN LLC                 $15,569

3.126    LIBERTY COMMERCIAL FINANCE LLC                                10/3/2022            $856,806        Secured debt
         18302 IRVINE BLVE, SUITE 300                                                                       Unsecured loan repayment
         TUSTIN, CA 92780                                              12/8/2022            $158,210
                                                                                                            Suppliers or vendors
                                                                       12/9/2022            $398,247        Services
                                                                                                            Other



                                  TOTAL LIBERTY COMMERCIAL FINANCE LLC                    $1,413,263

3.127    LINKEDIN CORPORATION                                          9/26/2022             $15,370        Secured debt
         62228 COLLECTIONS CENTER DRIVE                                                                     Unsecured loan repayment
         CHICAGO, IL 60693-0622                                                                             Suppliers or vendors
                                                                                                            Services
                                                                                                            Other
                                               TOTAL LINKEDIN CORPORATION                    $15,370




                                                          Page 32 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 57 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.128    LML SERVICES LLC DBA FLOWTX                                10/3/2022            $311,900         Secured debt
         PO BOX 90504                                                                                     Unsecured loan repayment
         SAN ANTONIO, TX 78209                                     11/15/2022            $200,000
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                      TOTAL LML SERVICES LLC DBA FLOWTX                  $511,900

3.129    M & S PATTERSON, INC                                      10/11/2022             $6,670          Secured debt
         2560 KING ARTHUR BOULEVARD                                                                       Unsecured loan repayment
         SUITE 124-127                                             10/25/2022             $3,245
                                                                                                          Suppliers or vendors
         LEWISVILLE, TX 75056                                      11/14/2022             $3,855          Services
                                                                    12/6/2022             $3,605          Other

                                                                   12/13/2022             $3,380




                                              TOTAL M & S PATTERSON, INC                  $20,755

3.130    MANAGEMENT DATA SYSTEMS INTERNATIONAL INC                 11/14/2022             $34,485         Secured debt
         3450 BUSCHWOOD PARK DR STE 350                                                                   Unsecured loan repayment
         TAMPA, FL 33618                                           11/23/2022             $25,721
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                    TOTAL MANAGEMENT DATA SYSTEMS INTERNATIONAL INC                       $60,206




                                                       Page 33 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 58 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.131    MANPOWER US INC                                            9/26/2022             $1,874          Secured debt
         21271 NETWORK PLACE                                                                              Unsecured loan repayment
         CHICAGO, IL 60673                                          10/3/2022             $5,668
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $19,741         Services
                                                                   10/18/2022             $9,957          Other

                                                                   10/25/2022             $10,022
                                                                   10/28/2022             $17,978
                                                                    11/7/2022             $35,058
                                                                   11/14/2022             $20,764
                                                                   11/23/2022             $48,735
                                                                   12/13/2022             $39,052
                                                                   12/19/2022             $27,299




                                                 TOTAL MANPOWER US INC                   $236,147

3.132    MARCUM LLP                                                10/27/2022             $51,500         Secured debt
         750 THIRD AVENUE, 11TH FLOOR                                                                     Unsecured loan repayment
         NEW YORK, NY 10017                                        11/23/2022             $50,000
                                                                                                          Suppliers or vendors
                                                                   12/19/2022            $206,000         Services
                                                                                                          Other



                                                       TOTAL MARCUM LLP                  $307,500

3.133    MEGAN ELIZABETH GILCHRIST                                  10/7/2022             $26,923         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                        TOTAL MEGAN ELIZABETH GILCHRIST                   $26,923

3.134    MERIDIAN EQUIPMENT FINANCE LLC                            10/18/2022             $4,050          Secured debt
         9 OLD LINCOLN HIGHWAY                                                                            Unsecured loan repayment
         MALVERN, PA 19355                                         11/16/2022             $4,050
                                                                                                          Suppliers or vendors
                                                                   12/16/2022             $4,050          Services
                                                                                                          Other



                                  TOTAL MERIDIAN EQUIPMENT FINANCE LLC                    $12,151



                                                       Page 34 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 59 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.135    MICHAEL RAY PAYNTER                                       10/24/2022             $10,000          Secured debt
         2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
         STE. E-101                                                                                        Suppliers or vendors
         AUSTIN, TX 78704                                                                                  Services
                                                                                                           Other Severance
                                             TOTAL MICHAEL RAY PAYNTER                    $10,000

3.136    MJDII ARCHITECTS INC                                       11/7/2022             $23,429          Secured debt
         16775 ADDISON RD                                                                                  Unsecured loan repayment
         SUITE 310                                                 11/23/2022             $35,143
                                                                                                           Suppliers or vendors
         ADDISON, TX 75001                                                                                 Services
                                                                                                           Other

                                              TOTAL MJDII ARCHITECTS INC                  $58,571

3.137    MORGAN LEWIS AND BOCKIUS LLP                               9/26/2022             $21,574          Secured debt
         1701 MARKET STREET                                                                                Unsecured loan repayment
         PHILADELPHIA, PA 19103                                    11/23/2022             $43,810
                                                                                                           Suppliers or vendors
                                                                   11/30/2022             $22,393          Services
                                                                   12/19/2022             $55,870          Other




                                   TOTAL MORGAN LEWIS AND BOCKIUS LLP                    $143,647

3.138    MP2 ENERGY TEXAS LLC                                       11/3/2022            $3,618,496        Secured debt
         21 WATERWAY AVENUE                                                                                Unsecured loan repayment
         SUITE 450                                                                                         Suppliers or vendors
         THE WOODLANDS, TX 77380                                                                           Services
                                                                                                           Other
                                            TOTAL MP2 ENERGY TEXAS LLC                 $3,618,496

3.139    MURPHY ELECTRIC CO INC                                    10/14/2022            $905,857          Secured debt
         P.O BOX 1009                                                                                      Unsecured loan repayment
         MURPHY, NC 28906                                          11/14/2022            $978,746
                                                                                                           Suppliers or vendors
                                                                   11/23/2022            $433,333          Services
                                                                   11/30/2022            $433,333          Other

                                                                    12/7/2022            $433,334
                                                                   12/14/2022            $254,170




                                          TOTAL MURPHY ELECTRIC CO INC                 $3,438,773




                                                       Page 35 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 60 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.140    MUTUAL ASSET FINANCE LLC ASSET FINANCE LLC                 9/26/2022            $691,647          Secured debt
         2 HAMPSHIRE STREET                                                                                Unsecured loan repayment
         SUITE 101                                                 10/17/2022            $448,617
                                                                                                           Suppliers or vendors
         FOXBORO, MA 02035                                                                                 Services
                                                                                                           Other

                     TOTAL MUTUAL ASSET FINANCE LLC ASSET FINANCE LLC                  $1,140,264

3.141    NASDAQ INC                                                12/19/2022             $10,955          Secured debt
         151 WEST 42ND STREET                                                                              Unsecured loan repayment
         NEW YORK, NY 10036                                                                                Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                                        TOTAL NASDAQ INC                  $10,955

3.142    NEVILLE, BRIAN                                            11/14/2022             $24,038          Secured debt
         2407 S. CONGRESS AVE                                                                              Unsecured loan repayment
         STE. E-101                                                                                        Suppliers or vendors
         AUSTIN, TX 78704                                                                                  Services
                                                                                                           Other Severance
                                                     TOTAL NEVILLE, BRIAN                 $24,038

3.143    NODAK ELECTRIC COOPERATIVE INC                             9/23/2022            $1,103,087        Secured debt
         4000 32ND AVE S                                                                                   Unsecured loan repayment
         PO BOX 13000                                               10/7/2022            $498,292
                                                                                                           Suppliers or vendors
         GRAND FORKS, ND 58208                                     10/14/2022            $498,492          Services
                                                                   10/21/2022            $498,292          Other

                                                                   10/28/2022            $498,292
                                                                    11/4/2022            $474,152
                                                                   11/10/2022            $455,720
                                                                   11/18/2022            $513,620
                                                                   11/25/2022            $526,796
                                                                    12/2/2022            $527,488
                                                                    12/9/2022            $526,796
                                                                   12/16/2022            $527,196




                                 TOTAL NODAK ELECTRIC COOPERATIVE INC                  $6,648,223




                                                       Page 36 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 61 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.144    NORTH CAROLINA DEPARTMENT OF REVENUE                      10/24/2022             $6,251          Secured debt
         PO BOX 25000                                                                                     Unsecured loan repayment
         RALEIGH, NC 27640-0650                                    11/23/2022             $2,496
                                                                                                          Suppliers or vendors
                                                                   12/20/2022             $1,599          Services
                                                                                                          Other



                         TOTAL NORTH CAROLINA DEPARTMENT OF REVENUE                       $10,346

3.145    ODEN P NISSIM                                             11/14/2022             $16,827         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                     TOTAL ODEN P NISSIM                  $16,827

3.146    ONESTOPMINING TECHNOLOGIES LIMITED                         9/26/2022             $97,250         Secured debt
         26077 NELSON WAY, STE 201                                                                        Unsecured loan repayment
         KATY, TX 77494                                             10/3/2022            $115,000
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $43,500         Services
                                                                   10/18/2022             $88,550         Other

                                                                   10/25/2022            $106,000
                                                                   10/28/2022            $106,250
                                                                    11/7/2022            $175,219
                                                                   11/23/2022             $34,800
                                                                   11/30/2022             $52,500
                                                                    12/6/2022             $52,500
                                                                   12/13/2022             $95,688




                                TOTAL ONESTOPMINING TECHNOLOGIES LIMITED                 $967,257




                                                       Page 37 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 62 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.147    ONIN HOLDINGS, INC.                                       11/14/2022             $3,584          Secured debt
         3800 COLONNADE PARKWAY                                                                           Unsecured loan repayment
         SUITE 300                                                 11/23/2022             $1,178
                                                                                                          Suppliers or vendors
         BIRMINGHAM, AL 35243                                       12/6/2022             $2,001          Services
                                                                   12/13/2022             $1,059          Other

                                                                   12/19/2022             $1,090




                                                TOTAL ONIN HOLDINGS, INC.                  $8,912

3.148    ONYX CONTRACTORS OPERATIONS, LP                           10/11/2022             $3,280          Secured debt
         PO BOX 60547                                                                                     Unsecured loan repayment
         MIDLAND, TX 79711-0547                                    10/18/2022             $30,449
                                                                                                          Suppliers or vendors
                                                                   12/13/2022             $3,280          Services
                                                                                                          Other



                                TOTAL ONYX CONTRACTORS OPERATIONS, LP                     $37,009

3.149    ORACLE AMERICA INC                                         9/26/2022             $29,337         Secured debt
         15612 COLLECTIONS CENTER DRIVE                                                                   Unsecured loan repayment
         CHICAGO, IL 60693                                         10/11/2022             $1,741
                                                                                                          Suppliers or vendors
                                                                   10/25/2022             $28,469         Services
                                                                    11/7/2022             $6,965          Other

                                                                   11/14/2022             $17,292
                                                                   11/23/2022             $1,045
                                                                   11/30/2022             $1,741
                                                                    12/6/2022             $1,741




                                               TOTAL ORACLE AMERICA INC                   $88,333

3.150    PAUL HASTINGS LLP                                         11/14/2022            $150,000         Secured debt
         515 S. FLOWER STREET, SUITE 2500                                                                 Unsecured loan repayment
         LOS ANGELES, CA 90071                                                                            Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                TOTAL PAUL HASTINGS LLP                  $150,000




                                                       Page 38 of 54 to Question 3
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 63 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.151    PEERLESS EVENTS AND TENTS LLC                              10/3/2022             $14,056         Secured debt
         4201 SUPPLY CT, SUITE 200                                                                        Unsecured loan repayment
         AUSTIN, TX 78744                                           11/1/2022             $14,056
                                                                                                          Suppliers or vendors
                                                                    12/2/2022             $14,056         Services
                                                                                                          Other



                                  TOTAL PEERLESS EVENTS AND TENTS LLC                     $42,168

3.152    PEOPLEREADY INC                                            9/26/2022             $24,765         Secured debt
         PO BOX 676412                                                                                    Unsecured loan repayment
         DALLAS, TX 75267-6412                                     10/11/2022             $10,012
                                                                                                          Suppliers or vendors
                                                                   10/18/2022             $14,786         Services
                                                                   10/25/2022             $22,752         Other

                                                                   10/28/2022             $20,706
                                                                   11/14/2022             $5,066
                                                                   11/30/2022             $1,201
                                                                    12/6/2022             $26,048
                                                                   12/13/2022              $861




                                                  TOTAL PEOPLEREADY INC                  $126,197

3.153    PEPSI MIDAMERICA                                          10/18/2022               $84           Secured debt
         2605 WEST MAIN STREET                                                                            Unsecured loan repayment
         MARION, IL 62959                                          10/25/2022             $1,329
                                                                                                          Suppliers or vendors
                                                                   10/28/2022             $2,790          Services
                                                                    11/7/2022             $5,881          Other

                                                                   11/23/2022               $84




                                                 TOTAL PEPSI MIDAMERICA                   $10,168

3.154    PETER SLADIC                                              11/14/2022             $24,038         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                      TOTAL PETER SLADIC                  $24,038



                                                       Page 39 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 64 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


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                                                                                           Value             or Transfer


3.155    PRICEWATERHOUSECOOPERS LLP                                10/25/2022             $6,488          Secured debt
         P.O. BOX 514038                                                                                  Unsecured loan repayment
         LOS ANGELES, CA 90051                                      12/6/2022             $50,342
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                     TOTAL PRICEWATERHOUSECOOPERS LLP                     $56,830

3.156    QUINN EMANUEL URQUHART & SULLIVAN                         10/11/2022             $55,328         Secured debt
         865 S FIGUEROA STREET, 10TH FLOOR                                                                Unsecured loan repayment
         LOS ANGELES, CA 90017                                      11/7/2022            $913,640
                                                                                                          Suppliers or vendors
                                                                   11/14/2022             $7,330          Services
                                                                    12/6/2022             $7,210          Other

                                                                   12/13/2022             $21,297
                                                                   12/19/2022            $325,288




                                TOTAL QUINN EMANUEL URQUHART & SULLIVAN                $1,330,092

3.157    RANKO CURIC                                               10/24/2022             $7,920          Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                      TOTAL RANKO CURIC                    $7,920

3.158    REED WELLS BENSON AND COMPANY                              11/7/2022             $95,250         Secured debt
         120010 N CENTRAL EXPRESSWAY                                                                      Unsecured loan repayment
         STE 1100                                                                                         Suppliers or vendors
         DALLAS, TX 75243                                                                                 Services
                                                                                                          Other
                                  TOTAL REED WELLS BENSON AND COMPANY                     $95,250




                                                       Page 40 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 65 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.159    REGIONAL DISPOSAL AND METAL LLC                            9/26/2022             $13,893         Secured debt
         PO BOX 1029                                                                                      Unsecured loan repayment
         MURPHY, NC 28906                                          10/11/2022             $15,542
                                                                                                          Suppliers or vendors
                                                                   10/25/2022             $22,130         Services
                                                                   10/28/2022             $6,290          Other

                                                                   11/14/2022             $4,440
                                                                   11/23/2022              $190
                                                                   11/30/2022             $14,998
                                                                    12/6/2022             $1,480
                                                                   12/13/2022             $2,590




                                TOTAL REGIONAL DISPOSAL AND METAL LLC                     $81,553

3.160    RESOUND NETWORKS LLC                                       9/26/2022             $4,329          Secured debt
         PO BOX 1741                                                                                      Unsecured loan repayment
         100 N CUYLER ST                                           10/25/2022             $8,654
                                                                                                          Suppliers or vendors
         PAMPA, TX 79066                                            11/7/2022             $8,658          Services
                                                                   11/30/2022             $4,325          Other

                                                                    12/6/2022             $14,008




                                           TOTAL RESOUND NETWORKS LLC                     $39,973

3.161    RESOURCES CONNECTION INC                                   9/26/2022             $12,580         Secured debt
         PO BOX 740909                                                                                    Unsecured loan repayment
         LOS ANGELES, CA 90074-0909                                10/11/2022             $12,665
                                                                                                          Suppliers or vendors
                                                                   10/25/2022             $13,600         Services
                                                                   11/23/2022             $28,050         Other

                                                                   12/13/2022             $10,710




                                       TOTAL RESOURCES CONNECTION INC                     $77,605




                                                       Page 41 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 66 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
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within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575
(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.162    RESOURCES CONNECTION, INC                                 12/19/2022             $40,000         Secured debt
         PO BOX 740909                                                                                    Unsecured loan repayment
         LOS ANGELES, CA 90074-0909                                                                       Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                      TOTAL RESOURCES CONNECTION, INC                     $40,000

3.163    RICARDO GARCIA-PAGAN                                      11/14/2022             $7,885          Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                            TOTAL RICARDO GARCIA-PAGAN                     $7,885

3.164    ROBERT HALF INTERNATIONAL INC                              9/26/2022             $15,355         Secured debt
         PO BOX 743295                                                                                    Unsecured loan repayment
         LOS ANGELES, CA 90074-3295                                 10/3/2022             $4,120
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $11,100         Services
                                                                   10/18/2022             $7,994          Other

                                                                   10/25/2022             $8,204
                                                                   10/28/2022             $4,120
                                                                   11/14/2022             $7,566
                                                                   11/23/2022             $3,490
                                                                    12/6/2022             $47,473
                                                                   12/13/2022             $1,723
                                                                   12/19/2022             $63,774




                                   TOTAL ROBERT HALF INTERNATIONAL INC                   $174,919

3.165    ROBERT J HAMILTON                                         11/14/2022             $16,827         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                                                       Suppliers or vendors
         AUSTIN, TX 78704                                                                                 Services
                                                                                                          Other Severance
                                                TOTAL ROBERT J HAMILTON                   $16,827




                                                       Page 42 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 67 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.166    ROTCORP MANAGEMENT LLC                                    11/23/2022             $9,000          Secured debt
         2314 BAHAMA RD                                                                                   Unsecured loan repayment
         AUSTIN, TX 78733                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                          TOTAL ROTCORP MANAGEMENT LLC                     $9,000

3.167    SALESFORCE.COM, INC.                                       11/7/2022             $12,232         Secured debt
         PO BOX 203141                                                                                    Unsecured loan repayment
         DALLAS, TX 75320                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                              TOTAL SALESFORCE.COM, INC.                  $12,232

3.168    SECURITAS SECURITY SERVICES USA INC                        9/26/2022            $164,954         Secured debt
         4330 PARK TERRACE DRIVE                                                                          Unsecured loan repayment
         WEST LAKE VILLAGE, CA 91361                                10/3/2022             $68,865
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $32,205         Services
                                                                   10/18/2022            $109,387         Other

                                                                   10/25/2022             $37,826
                                                                   10/28/2022             $15,822
                                                                    11/7/2022            $129,923
                                                                   11/14/2022             $15,807
                                                                   11/23/2022            $231,657
                                                                   11/30/2022             $46,171
                                                                   12/13/2022            $431,090




                                TOTAL SECURITAS SECURITY SERVICES USA INC              $1,283,708

3.169    SHERMCO INDUSTRIES, INC                                   10/11/2022             $90,000         Secured debt
         PO BOX 540545                                                                                    Unsecured loan repayment
         DALLAS, TX 75354                                          10/18/2022             $15,866
                                                                                                          Suppliers or vendors
                                                                   10/28/2022             $14,657         Services
                                                                    12/6/2022             $30,023         Other




                                           TOTAL SHERMCO INDUSTRIES, INC                 $150,545




                                                       Page 43 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 68 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.170    SID TOOL CO INC                                            9/26/2022             $3,167          Secured debt
         525 HARBOUR PLACE DRIVE                                                                          Unsecured loan repayment
         DAVIDSON, NC 28036                                        10/11/2022             $3,496
                                                                                                          Suppliers or vendors
                                                                   10/18/2022              $713           Services
                                                                   10/25/2022              $572           Other

                                                                   10/28/2022               $34
                                                                    11/7/2022             $10,927
                                                                   11/14/2022             $1,021
                                                                   11/23/2022             $3,961
                                                                    12/6/2022             $1,589




                                                    TOTAL SID TOOL CO INC                 $25,480

3.171    SIDLEY AUSTIN LLP                                          11/9/2022            $100,000         Secured debt
         2021 MCKINNEY AVENUE                                                                             Unsecured loan repayment
         SUITE 2000                                                                                       Suppliers or vendors
         DALLAS, TX 75201                                                                                 Services
                                                                                                          Other
                                                 TOTAL SIDLEY AUSTIN LLP                 $100,000

3.172    SLALOM LLC                                                 9/26/2022             $15,230         Secured debt
         PO BOX 101416                                                                                    Unsecured loan repayment
         PASADENA, CA 91189-1416                                   10/11/2022             $35,794
                                                                                                          Suppliers or vendors
                                                                   10/18/2022              $816           Services
                                                                   10/25/2022             $13,570         Other

                                                                   10/28/2022             $15,940
                                                                    11/7/2022             $23,168
                                                                   11/14/2022             $7,566
                                                                   11/23/2022             $7,350
                                                                   11/30/2022             $15,692
                                                                    12/6/2022             $6,903
                                                                   12/13/2022             $6,791
                                                                   12/19/2022             $53,708




                                                       TOTAL SLALOM LLC                  $202,528



                                                       Page 44 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 69 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.173    SO LLC                                                    10/11/2022              $517           Secured debt
         4575 W POST ROAD                                                                                 Unsecured loan repayment
         LAS VEGAS, NV 89118                                       10/18/2022              $259
                                                                                                          Suppliers or vendors
                                                                   10/25/2022             $3,084          Services
                                                                   10/28/2022              $291           Other

                                                                    11/7/2022              $866
                                                                   11/23/2022             $17,159




                                                             TOTAL SO LLC                 $22,176

3.174    SRPF A QR RIVERSOUTH LLC                                  10/11/2022             $37,544         Secured debt
         20011 ROSS AVENUE, SUITE 400                                                                     Unsecured loan repayment
         DALLAS, TX 75201                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                          TOTAL SRPF A QR RIVERSOUTH LLC                  $37,544

3.175    STONEBRIAR COMMERCIAL FINANCE LLC                          10/3/2022            $498,202         Secured debt
         5601 GRANITE PARKWAY, SUITE 1350                                                                 Unsecured loan repayment
         PLANO, TX 75024                                                                                  Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                TOTAL STONEBRIAR COMMERCIAL FINANCE LLC                  $498,202

3.176    SUMMIT ENERGY SERVICES INC                                10/31/2022             $2,700          Secured debt
         10350 ORMSBY PARK PLACE, SUITE 400                                                               Unsecured loan repayment
         LOUISVILLE, KY 40223                                      11/18/2022             $2,700
                                                                                                          Suppliers or vendors
                                                                   12/19/2022             $2,808          Services
                                                                                                          Other



                                        TOTAL SUMMIT ENERGY SERVICES INC                   $8,208

3.177    SUPREME FIBER LLC                                          9/26/2022            $109,056         Secured debt
         6104 OLD FREDERICKSBURG RD                                                                       Unsecured loan repayment
         #91114                                                                                           Suppliers or vendors
         AUSTIN, TX 78749                                                                                 Services
                                                                                                          Other
                                                TOTAL SUPREME FIBER LLC                  $109,056




                                                       Page 45 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 70 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                           Dates          Total Amount or     Reasons for Payment
                                                                                             Value             or Transfer


3.178    TANMAR RENTALS, LLC                                         10/11/2022             $27,702        Secured debt
         P.O. BOX 1376                                                                                     Unsecured loan repayment
         LAFAYETTE, LA 70508                                         10/25/2022             $55,356
                                                                                                           Suppliers or vendors
                                                                     10/28/2022             $21,432        Services
                                                                      12/6/2022             $64,017        Other




                                                 TOTAL TANMAR RENTALS, LLC                 $168,507

3.179    TDINDUSTRIES INC                                            10/18/2022             $19,810        Secured debt
         13850 DIPLOMAT DR                                                                                 Unsecured loan repayment
         DALLAS, TX 75234                                            11/14/2022             $4,045
                                                                                                           Suppliers or vendors
                                                                     12/13/2022             $1,191         Services
                                                                                                           Other



                                                    TOTAL TDINDUSTRIES INC                  $25,045

3.180    TECHNOLOGY FINANCE CORPORATION                               10/3/2022             $16,950        Secured debt
         7077 E MARILYN ROAD BLDG 3, SUITE 125                                                             Unsecured loan repayment
         SCOTTSDALE, AZ 85254                                        10/11/2022             $82,686
                                                                                                           Suppliers or vendors
                                                                      11/1/2022             $16,950        Services
                                                                     12/20/2022             $22,832        Other




                                TOTAL TECHNOLOGY FINANCE CORPORATION                       $139,418




                                                         Page 46 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 71 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.181    TEMPS PLUS INC                                             9/26/2022             $38,771          Secured debt
         PO BOX 6054                                                                                       Unsecured loan repayment
         DALTON, GA 30720                                          10/11/2022             $3,958
                                                                                                           Suppliers or vendors
                                                                   10/18/2022             $27,107          Services
                                                                   10/25/2022             $1,738           Other

                                                                   10/28/2022             $29,898
                                                                   11/14/2022             $22,138
                                                                   11/23/2022             $21,904
                                                                    12/6/2022             $19,802
                                                                   12/13/2022             $5,759
                                                                   12/19/2022             $4,732




                                                    TOTAL TEMPS PLUS INC                 $175,808

3.182    TEMPS PLUS OF PADUCAH INC                                  9/26/2022             $2,426           Secured debt
         4720 VILLAGE SQUARE DRIVE                                                                         Unsecured loan repayment
         SUITE A                                                   10/18/2022             $4,593
                                                                                                           Suppliers or vendors
         PADUCAH, KY 42001                                         10/28/2022             $1,533           Services
                                                                   11/14/2022             $3,211           Other

                                                                   11/23/2022              $449
                                                                    12/6/2022             $2,146
                                                                   12/13/2022             $1,963
                                                                   12/19/2022             $1,836




                                       TOTAL TEMPS PLUS OF PADUCAH INC                    $18,158

3.183    TENASKA COLOCATION SERVICES LLC                           10/12/2022            $2,130,108        Secured debt
         14302 FNB PARKWAY                                                                                 Unsecured loan repayment
         OMAHA, NE 68154                                           12/16/2022            $2,152,085
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                TOTAL TENASKA COLOCATION SERVICES LLC                  $4,282,193




                                                       Page 47 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 72 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.184    TENASKA ENERGY INC                                         10/3/2022             $22,830          Secured debt
         14302 FNB PARKWAY                                                                                 Unsecured loan repayment
         OMAHA, NE 68154                                           10/25/2022             $43,018
                                                                                                           Suppliers or vendors
                                                                   11/25/2022             $78,850          Services
                                                                                                           Other



                                              TOTAL TENASKA ENERGY INC                   $144,699

3.185    TENET CORP                                                10/11/2022             $45,827          Secured debt
         1238 GREY FOX RD                                                                                  Unsecured loan repayment
         ARDEN HILLS, MN 55112                                     10/25/2022             $48,105
                                                                                                           Suppliers or vendors
                                                                   10/28/2022             $45,827          Services
                                                                    11/7/2022             $91,238          Other




                                                       TOTAL TENET CORP                  $230,997

3.186    TENNESSEE VALLEY AUTHORITY                                 9/23/2022            $1,000,000        Secured debt
         26 CENTURY BLVD STE. 100                                                                          Unsecured loan repayment
         NASHVILLE, TN 34214                                        10/7/2022            $1,450,000
                                                                                                           Suppliers or vendors
                                                                   10/14/2022            $634,647          Services
                                                                   10/21/2022            $1,225,000        Other

                                                                   10/28/2022            $1,225,000
                                                                    11/4/2022            $610,283
                                                                   11/10/2022            $1,225,000
                                                                   11/18/2022            $1,225,000
                                                                   11/25/2022            $1,225,000
                                                                    12/2/2022            $1,225,000
                                                                    12/9/2022            $1,225,000
                                                                   12/16/2022            $1,225,000




                                      TOTAL TENNESSEE VALLEY AUTHORITY                $13,494,930




                                                       Page 48 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 73 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.187    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                      10/21/2022            $1,979,341        Secured debt
         P.O. BOX 13528, CAPITOL STATION                                                                   Unsecured loan repayment
         AUSTIN, TX 78711-3528                                     11/29/2022            $342,580
                                                                                                           Suppliers or vendors
                                                                   12/20/2022             $20,616          Services
                                                                                                           Other Taxes



                          TOTAL TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                   $2,342,538

3.188    THE ALLSTATE CORPORATION                                  10/14/2022             $3,787           Secured debt
         PO BOX 650514                                                                                     Unsecured loan repayment
         DALLAS, TX 75265-0514                                     11/14/2022             $3,091
                                                                                                           Suppliers or vendors
                                                                   12/15/2022             $3,091           Services
                                                                                                           Other



                                       TOTAL THE ALLSTATE CORPORATION                      $9,969

3.189    THOMAS WILSON                                             12/13/2022             $22,855          Secured debt
         421 TURKEY LN                                                                                     Unsecured loan repayment
         ALMO, KY 42020                                                                                    Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                                   TOTAL THOMAS WILSON                    $22,855

3.190    TIEN YUN INVESTMENTS LLC                                   11/7/2022             $28,407          Secured debt
         929 108TH AVE NE                                                                                  Unsecured loan repayment
         SUITE 1510                                                12/13/2022             $1,407
                                                                                                           Suppliers or vendors
         BELLEVUE, WA 98004                                                                                Services
                                                                                                           Other

                                         TOTAL TIEN YUN INVESTMENTS LLC                   $29,814

3.191    TNP INC                                                   11/23/2022             $67,615          Secured debt
         5237 N RIVERSIDE DR                                                                               Unsecured loan repayment
         STE 100                                                    12/6/2022             $7,086
                                                                                                           Suppliers or vendors
         FORT WORTH, TX 76137                                                                              Services
                                                                                                           Other

                                                            TOTAL TNP INC                 $74,701




                                                       Page 49 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 74 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.192    TOTAL QUALITY LOGISTICS LLC                                10/3/2022             $36,000         Secured debt
         PO BOX 634558                                                                                    Unsecured loan repayment
         CINCINNATI, OH 45263                                      10/11/2022             $32,000
                                                                                                          Suppliers or vendors
                                                                   10/18/2022             $2,000          Services
                                                                   11/14/2022             $2,000          Other




                                       TOTAL TOTAL QUALITY LOGISTICS LLC                  $72,000

3.193    TOYOTA INDUSTRIES COMMERCIAL FINANCE INC                  10/25/2022             $10,784         Secured debt
         PO BOX 660926                                                                                    Unsecured loan repayment
         DALLAS, TX 75266-0926                                     11/23/2022             $10,784
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                        TOTAL TOYOTA INDUSTRIES COMMERCIAL FINANCE INC                    $21,568

3.194    TRILOGY LLC                                                10/3/2022             $49,200         Secured debt
         6255 SADDLE TREE DR                                                                              Unsecured loan repayment
         LAS VEGAS, NV 89118                                       10/11/2022            $697,083
                                                                                                          Suppliers or vendors
                                                                    11/7/2022            $136,800         Services
                                                                                                          Other



                                                       TOTAL TRILOGY LLC                 $883,083

3.195    TRINITY CAPITAL                                            10/3/2022            $972,600         Secured debt
         1 N 1ST STREET SUITE 302                                                                         Unsecured loan repayment
         PHONIX, AZ 85004                                                                                 Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                    TOTAL TRINITY CAPITAL                $972,600

3.196    TSC INC                                                    9/26/2022             $19,314         Secured debt
         194 BUSINESS PARK DRIVE                                                                          Unsecured loan repayment
         RIDGELAND, MS 39157                                       10/11/2022             $2,800
                                                                                                          Suppliers or vendors
                                                                                                          Services
                                                                                                          Other

                                                            TOTAL TSC INC                 $22,114




                                                       Page 50 of 54 to Question 3
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 75 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

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adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.197    TTPB CONSTRUCTION INC                                      10/3/2022             $9,706          Secured debt
         PO BOX 388                                                                                       Unsecured loan repayment
         CALVERT CITY, KY 42029-0388                                11/7/2022             $15,888
                                                                                                          Suppliers or vendors
                                                                    12/6/2022             $1,325          Services
                                                                   12/13/2022             $33,802         Other




                                            TOTAL TTPB CONSTRUCTION INC                   $60,720

3.198    U LINE INC                                                 9/26/2022             $4,730          Secured debt
         PO BOX 88741                                                                                     Unsecured loan repayment
         CHICAGO, IL 60680-1741                                     10/3/2022             $19,390
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $30,958         Services
                                                                   10/18/2022             $5,818          Other

                                                                   10/25/2022             $3,857
                                                                   10/28/2022             $5,399
                                                                    11/7/2022             $13,874
                                                                   11/14/2022             $36,264
                                                                   11/23/2022             $16,715
                                                                   11/30/2022             $31,940
                                                                    12/6/2022             $1,984




                                                          TOTAL U LINE INC               $170,928

3.199    UNITED RENTALS NORTH AMERICA INC                           9/26/2022             $2,131          Secured debt
         PO BOX 100711                                                                                    Unsecured loan repayment
         ATLANTA, GA 30384-0711                                     10/3/2022             $1,034
                                                                                                          Suppliers or vendors
                                                                   10/11/2022             $4,769          Services
                                                                   10/25/2022             $6,163          Other

                                                                    11/7/2022             $4,351
                                                                   11/14/2022             $2,452
                                                                    12/6/2022             $3,125




                                  TOTAL UNITED RENTALS NORTH AMERICA INC                  $24,026



                                                       Page 51 of 54 to Question 3
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 76 of 130

Core Scientific Operating Company                                                                     Case Number:           22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation,
within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575
(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or       Reasons for Payment
                                                                                           Value               or Transfer


3.200    US BANK                                                    10/3/2022            $5,494,761        Secured debt
         60 LIVINGSTON AVE                                                                                 Unsecured loan repayment
         ST. PAUL, MN 55107                                        11/10/2022             $35,000
                                                                                                           Suppliers or vendors
                                                                                                           Services
                                                                                                           Other

                                                           TOTAL US BANK               $5,529,761

3.201    VISTRA ENERGY CORP.                                       10/26/2022            $1,863,416        Secured debt
         6555 SIERRA DRIVE                                                                                 Unsecured loan repayment
         IRVING, TX 75039                                                                                  Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                              TOTAL VISTRA ENERGY CORP.                $1,863,416

3.202    WASTE PATH SERVICES LLC                                   10/11/2022             $1,365           Secured debt
         1637 SHAR CAL RD                                                                                  Unsecured loan repayment
         CALVERT CITY, KY 42029                                     11/7/2022             $5,000
                                                                                                           Suppliers or vendors
                                                                   11/30/2022              $360            Services
                                                                   12/13/2022             $1,207           Other




                                         TOTAL WASTE PATH SERVICES LLC                     $7,932

3.203    WELLS AND WEST INC                                         9/26/2022            $259,729          Secured debt
         PO BOX 129                                                                                        Unsecured loan repayment
         MURPHY, NC 28906                                                                                  Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                               TOTAL WELLS AND WEST INC                  $259,729

3.204    WILLIAMS & CONNOLLY LLP                                    11/7/2022            $158,090          Secured debt
         680 MAINE AVENUE SW                                                                               Unsecured loan repayment
         NEW YORK, NY 10038                                                                                Suppliers or vendors
                                                                                                           Services
                                                                                                           Other
                                         TOTAL WILLIAMS & CONNOLLY LLP                   $158,090




                                                       Page 52 of 54 to Question 3
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 77 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.205    WINDSTREAM HOLDINGS INC                                    9/28/2022             $1,988          Secured debt
         PO BOX 9001908                                                                                   Unsecured loan repayment
         LOUISVILLE, KY 40290-1908                                 10/12/2022             $3,537
                                                                                                          Suppliers or vendors
                                                                   10/27/2022             $1,988          Services
                                                                    11/8/2022             $3,537          Other

                                                                   11/28/2022             $1,988
                                                                    12/8/2022             $3,537




                                        TOTAL WINDSTREAM HOLDINGS INC                     $16,576

3.206    WORKIVA INC                                               10/25/2022             $25,000         Secured debt
         2900 UNIVERSITY BLVD                                                                             Unsecured loan repayment
         AMES, IA 50010                                                                                   Suppliers or vendors
                                                                                                          Services
                                                                                                          Other
                                                       TOTAL WORKIVA INC                  $25,000

3.207    WORKSMITH INC                                             10/11/2022             $53,816         Secured debt
         2407 S. CONGRESS AVE                                                                             Unsecured loan repayment
         STE. E-101                                                10/28/2022             $78,491
                                                                                                          Suppliers or vendors
         AUSTIN, TX 78704                                           12/6/2022             $53,816         Services
                                                                                                          Other



                                                    TOTAL WORKSMITH INC                  $186,122

3.208    XC CONTAINER LLC                                           10/3/2022             $3,832          Secured debt
         PO BOX 650212                                                                                    Unsecured loan repayment
         DALLAS, TX 75265                                           12/6/2022             $2,555
                                                                                                          Suppliers or vendors
                                                                   12/13/2022             $3,832          Services
                                                                                                          Other



                                                 TOTAL XC CONTAINER LLC                   $10,219




                                                       Page 53 of 54 to Question 3
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 78 of 130

Core Scientific Operating Company                                                                   Case Number:            22-90343


        Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

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within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575
(this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases filed on or after the date of
adjustment).
        None


  Creditor's Name and Address                                         Dates          Total Amount or     Reasons for Payment
                                                                                           Value             or Transfer


3.209    XXVI HOLDINGS INC                                          10/3/2022              $5,571         Secured debt
         1600 AMPHITHEATRE PARKWAY                                                                        Unsecured loan repayment
         MOUNTAIN VIEW, CA 94043                                   10/25/2022              $2,232
                                                                                                          Suppliers or vendors
                                                                   12/13/2022              $2,587         Services
                                                                                                          Other



                                                 TOTAL XXVI HOLDINGS INC                  $10,390

3.210    ZACKERY DEWAYNE GORDON                                    10/11/2022               $770          Secured debt
         4005 WOODLINE DR                                                                                 Unsecured loan repayment
         DALTON, GA 30721                                          10/18/2022               $675
                                                                                                          Suppliers or vendors
                                                                   10/25/2022              $6,640         Services
                                                                    11/7/2022              $5,480         Other

                                                                   11/14/2022              $4,240
                                                                   12/13/2022              $4,430




                                       TOTAL ZACKERY DEWAYNE GORDON                       $22,235

3.211    ZETAMINUSONE LLC                                           9/26/2022             $19,440         Secured debt
         1250 AVE PONCE DE LEONE                                                                          Unsecured loan repayment
         STE 301                                                   10/28/2022              $9,000
                                                                                                          Suppliers or vendors
         SAN JUAN, PR 00907                                        12/12/2022              $9,000         Services
                                                                                                          Other



                                                TOTAL ZETAMINUSONE LLC                    $37,440




                                                                  TOTAL              $163,306,623




                                                       Page 54 of 54 to Question 3
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 79 of 130

Core Scientific Operating Company                                                                              Case Number:   22-90343

      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
filed on or after the date of adjustment). Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates             Amount      Reason for Payment




4.1    CURTIS, ALAN                                                     1/21/2022           $11,538   Salary
       FORMER CHIEF TECHNOLOGY OFFICER
       2407 S. CONGRESS AVE                                             2/4/2022            $11,538   Salary
       STE. E-101                                                       2/18/2022           $11,538   Salary
       AUSTIN, TX 78704
                                                                        3/4/2022            $11,538   Salary
                                                                        3/18/2022           $11,538   Salary
                                                                        4/1/2022            $11,538   Salary
                                                                        4/15/2022           $11,538   Salary
                                                                        4/29/2022           $11,538   Salary
                                                                        5/13/2022           $11,538   Salary
                                                                        5/27/2022           $11,538   Salary
                                                                        6/10/2022           $11,538   Salary
                                                                        6/24/2022           $11,538   Salary
                                                                        7/8/2022            $11,538   Salary
                                                                        7/22/2022           $11,538   Salary
                                                                        8/5/2022            $11,538   Salary
                                                                        8/9/2022             $6,923   Salary
                                                                        8/19/2022          $150,000   Severance

                                                      TOTAL CURTIS, ALAN                   $330,000




                                                              Page 1 of 14 to Question 4
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 80 of 130

Core Scientific Operating Company                                                                             Case Number:             22-90343

      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

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anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates             Amount     Reason for Payment




4.2    DUCHENE, TODD                                                   12/23/2021          $11,538   Salary
       CURRENT CHIEF LEGAL OFFICER
       2407 S. CONGRESS AVE                                             1/7/2022           $11,538   Salary
       STE. E-101                                                       1/21/2022          $11,538   Salary
       AUSTIN, TX 78704
                                                                        2/4/2022           $11,538   Salary
                                                                        2/18/2022          $11,538   Salary
                                                                        2/23/2022             $34    Expense Reimbursement
                                                                        3/4/2022           $11,538   Salary
                                                                        3/15/2022            $207    Expense Reimbursement
                                                                        3/18/2022          $11,538   Salary
                                                                        3/23/2022            $635    Expense Reimbursement
                                                                        4/1/2022           $11,538   Salary
                                                                        4/15/2022          $11,538   Salary
                                                                        4/29/2022          $11,538   Salary
                                                                        5/13/2022          $11,538   Salary
                                                                        5/27/2022          $11,538   Salary
                                                                        6/2/2022             $209    Expense Reimbursement
                                                                        6/10/2022          $11,538   Salary
                                                                        6/24/2022          $11,538   Salary
                                                                        7/8/2022           $11,538   Salary
                                                                        7/22/2022          $11,538   Salary
                                                                        8/5/2022           $11,538   Salary
                                                                        8/15/2022              $0    Restricted Stock Unit Agreement (1,200,000
                                                                                                     units / options)
                                                                        8/19/2022          $11,538   Salary
                                                                        9/2/2022           $11,538   Salary
                                                                        9/16/2022          $11,538   Salary
                                                                        9/30/2022          $11,538   Salary
                                                                       10/14/2022          $11,538   Salary
                                                                       10/28/2022          $11,538   Salary
                                                                       11/10/2022          $11,538   Salary


                                                              Page 2 of 14 to Question 4
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 81 of 130

Core Scientific Operating Company                                                                            Case Number:   22-90343

    Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
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the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
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anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
    None


    Insider's Name and Address and Relationship to Debtor              Dates             Amount      Reason for Payment




                                                                     11/25/2022           $11,538   Salary
                                                                      12/9/2022           $11,538   Salary
                                                                     12/23/2022           $11,538   Salary
                                                                     12/23/2022          $375,000   Retention Bonus

                                                 TOTAL DUCHENE, TODD                     $687,624




                                                            Page 3 of 14 to Question 4
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 82 of 130

Core Scientific Operating Company                                                                             Case Number:               22-90343

      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
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anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates             Amount      Reason for Payment




4.3    FEINSTEIN, DARIN                                                12/23/2021           $2,308   Salary
       CO-FOUNDER AND CO-CHAIRMAN
       2407 S. CONGRESS AVE                                            12/30/2021          $15,796   Expense Reimbursement
       STE. E-101                                                      12/30/2021           $5,541   Salary
       AUSTIN, TX 78704
                                                                        1/7/2022            $2,308   Salary
                                                                        1/14/2022             $45    Expense Reimbursement
                                                                        1/18/2022          $13,016   Expense Reimbursement
                                                                        1/19/2022              $0    Stock Options (8,000,764 units / options)
                                                                        1/21/2022           $2,308   Salary
                                                                        2/4/2022            $2,308   Salary
                                                                        2/11/2022          $73,457   Expense Reimbursement
                                                                        2/18/2022           $2,308   Salary
                                                                        3/4/2022            $2,308   Salary
                                                                        3/18/2022           $2,308   Salary
                                                                        3/29/2022            $636    Expense Reimbursement
                                                                        3/30/2022           $1,796   Expense Reimbursement
                                                                        4/1/2022            $2,308   Salary
                                                                        4/14/2022          $10,944   Expense Reimbursement
                                                                        4/15/2022           $2,308   Salary
                                                                        4/28/2022            $357    Expense Reimbursement
                                                                        4/29/2022           $2,308   Salary
                                                                        5/3/2022           $18,095   Expense Reimbursement
                                                                        5/12/2022             $96    Expense Reimbursement
                                                                        5/13/2022           $2,308   Salary
                                                                        5/24/2022           $1,502   Expense Reimbursement
                                                                        5/25/2022           $1,258   Expense Reimbursement
                                                                        5/27/2022           $2,308   Salary
                                                                        6/10/2022           $2,308   Salary
                                                                        6/21/2022           $7,779   Expense Reimbursement
                                                                        6/23/2022           $1,000   Expense Reimbursement
                                                                        6/24/2022           $2,308   Salary

                                                              Page 4 of 14 to Question 4
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 83 of 130

Core Scientific Operating Company                                                                              Case Number:   22-90343

      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
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anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates             Amount      Reason for Payment




                                                                        7/5/2022            $31,559   Expense Reimbursement
                                                                        7/8/2022             $2,308   Salary
                                                                        7/22/2022            $2,308   Salary
                                                                        8/5/2022             $2,308   Salary
                                                                        8/19/2022            $2,308   Salary
                                                                        9/2/2022             $2,308   Salary
                                                                        9/16/2022            $2,308   Salary
                                                                        9/30/2022            $2,308   Salary
                                                                       10/14/2022            $2,308   Salary
                                                                       10/28/2022            $2,308   Salary
                                                                       11/10/2022            $2,308   Salary
                                                                       11/25/2022            $2,308   Salary
                                                                        12/9/2022            $2,308   Salary
                                                                       12/23/2022            $2,308   Salary

                                                  TOTAL FEINSTEIN, DARIN                   $245,185


4.4    HOLLINGSWORTH, JARVIS                                            2/14/2022           $57,500   Board Fees
       CURRENT BOARD MEMBER
       2407 S. CONGRESS AVE                                             4/4/2022            $57,500   Board Fees
       STE. E-101                                                       7/6/2022            $57,500   Board Fees
       AUSTIN, TX 78704
                                                                        10/3/2022           $57,500   Board Fees

                                         TOTAL HOLLINGSWORTH, JARVIS                       $230,000




                                                              Page 5 of 14 to Question 4
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 84 of 130

Core Scientific Operating Company                                                                             Case Number:               22-90343

      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

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affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates             Amount      Reason for Payment




4.5    LEVITT, MICHAEL                                                 12/23/2021           $2,308   Salary
       CO-FOUNDER, CO-CHAIRMAN, AND CEO
       2407 S. CONGRESS AVE                                             1/7/2022            $2,308   Salary
       STE. E-101                                                       1/19/2022              $0    Stock Options (8,000,764 units / options)
       AUSTIN, TX 78704
                                                                        1/19/2022              $0    Restricted Stock Unit Agreement (4,880,466
                                                                                                     units / options)
                                                                        1/21/2022           $2,308   Salary
                                                                        2/4/2022            $2,308   Salary
                                                                        2/18/2022           $2,308   Salary
                                                                        3/4/2022            $2,308   Salary
                                                                        3/18/2022           $2,308   Salary
                                                                        4/1/2022            $2,308   Salary
                                                                        4/15/2022           $2,308   Salary
                                                                        4/29/2022           $2,308   Salary
                                                                        5/13/2022           $2,308   Salary
                                                                        5/27/2022           $2,308   Salary
                                                                        6/3/2022             $152    Expense Reimbursement
                                                                        6/10/2022           $2,308   Salary
                                                                        6/24/2022           $2,308   Salary
                                                                        7/8/2022             $151    Expense Reimbursement
                                                                        7/8/2022            $2,308   Salary
                                                                        7/22/2022           $2,308   Salary
                                                                        8/4/2022             $872    Expense Reimbursement
                                                                        8/5/2022            $2,308   Salary
                                                                        8/15/2022              $0    Restricted Stock Unit Agreement (2,800,000
                                                                                                     units / options)
                                                                        8/19/2022           $2,308   Salary
                                                                        9/2/2022            $2,308   Salary
                                                                        9/16/2022           $2,308   Salary
                                                                        9/30/2022           $2,308   Salary
                                                                        10/5/2022            $566    Expense Reimbursement


                                                              Page 6 of 14 to Question 4
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 85 of 130

Core Scientific Operating Company                                                                           Case Number:   22-90343

    Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

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List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
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anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
    None


    Insider's Name and Address and Relationship to Debtor              Dates             Amount     Reason for Payment




                                                                     10/14/2022           $2,308   Salary
                                                                     10/28/2022           $2,308   Salary
                                                                     11/10/2022           $2,308   Salary
                                                                     11/15/2022            $490    Expense Reimbursement
                                                                     11/25/2022           $2,308   Salary
                                                                      12/9/2022           $2,308   Salary
                                                                     12/23/2022           $2,308   Salary

                                                 TOTAL LEVITT, MICHAEL                   $64,539




                                                            Page 7 of 14 to Question 4
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 86 of 130

Core Scientific Operating Company                                                                             Case Number:   22-90343

      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

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affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates             Amount     Reason for Payment




4.6    NEVILLE, BRIAN                                                  12/23/2021           $9,615   Salary
       FORMER CHIEF ACCOUNTING OFFICER
       2407 S. CONGRESS AVE                                             1/21/2022           $9,615   Salary
       STE. E-101                                                       1/21/2022           $9,615   Salary
       AUSTIN, TX 78704
                                                                        2/4/2022            $9,615   Salary
                                                                        2/18/2022           $9,615   Salary
                                                                        3/4/2022            $9,615   Salary
                                                                        3/18/2022           $9,615   Salary
                                                                        3/23/2022            $720    Expense Reimbursement
                                                                        4/1/2022            $9,615   Salary
                                                                        4/15/2022           $9,615   Salary
                                                                        4/21/2022            $795    Expense Reimbursement
                                                                        4/27/2022             $33    Expense Reimbursement
                                                                        4/29/2022           $9,615   Salary
                                                                        5/13/2022           $9,615   Salary
                                                                        5/26/2022             $31    Expense Reimbursement
                                                                        5/27/2022           $9,615   Salary
                                                                        5/31/2022           $2,410   Expense Reimbursement
                                                                        6/2/2022            $1,905   Expense Reimbursement
                                                                        6/10/2022           $9,615   Salary
                                                                        6/24/2022           $9,615   Salary
                                                                        7/8/2022            $9,615   Salary
                                                                        7/22/2022           $9,615   Salary
                                                                        8/5/2022            $9,615   Salary
                                                                        8/19/2022           $9,615   Salary
                                                                        9/2/2022            $9,615   Salary
                                                                        9/16/2022           $9,615   Salary
                                                                        9/30/2022           $9,615   Salary
                                                                       10/14/2022           $9,615   Salary
                                                                       10/20/2022            $499    Expense Reimbursement
                                                                       10/28/2022           $7,692   Salary

                                                              Page 8 of 14 to Question 4
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 87 of 130

Core Scientific Operating Company                                                                              Case Number:          22-90343

      Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
filed on or after the date of adjustment). Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None


      Insider's Name and Address and Relationship to Debtor              Dates             Amount      Reason for Payment




                                                                        11/1/2022             $969    Expense Reimbursement
                                                                       11/14/2022           $24,038   Severance

                                                    TOTAL NEVILLE, BRIAN                   $250,631


4.7    OLIVARES, STACIE                                                 2/14/2022           $47,500   Board Fees
       FORMER BOARD MEMBER
       2407 S. CONGRESS AVE                                             4/4/2022            $47,500   Board Fees
       STE. E-101                                                       6/27/2022            $1,855   Travel Expense Reimbursement
       AUSTIN, TX 78704
                                                                        7/6/2022            $47,500   Board Fees
                                                                        10/3/2022           $47,500   Board Fees

                                                 TOTAL OLIVARES, STACIE                    $191,855


4.8    ORLOPP, SHARON                                                  12/23/2021           $11,538   Salary
       FORMER CHIEF HUMAN RESOURCE OFFICER
       2407 S. CONGRESS AVE                                             1/7/2022            $11,538   Salary
       STE. E-101                                                       1/21/2022           $11,538   Salary
       AUSTIN, TX 78704
                                                                        2/4/2022            $11,538   Salary
                                                                        2/18/2022            $3,462   Salary
                                                                        3/11/2022           $31,677   Severance

                                                 TOTAL ORLOPP, SHARON                       $81,292


4.9    RED MOON 88 LLC                                                  1/3/2022            $34,880   Travel Expense
       BOARD MEMBER/OFFICER AFFILIATE (DARIN FEINSTEIN)
       2407 S. CONGRESS AVE                                             1/24/2022           $84,800   Travel Expense
       STE. E-101                                                       3/14/2022           $73,600   Travel Expense
       AUSTIN, TX 78704
                                                                        4/18/2022           $24,800   Travel Expense
                                                                        5/31/2022           $39,200   Travel Expense
                                                                        7/12/2022          $145,600   Travel Expense
                                                                        8/15/2022           $72,200   Travel Expense

                                                 TOTAL RED MOON 88 LLC                     $475,080



                                                              Page 9 of 14 to Question 4
                      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 88 of 130

Core Scientific Operating Company                                                                           Case Number:     22-90343

       Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
filed on or after the date of adjustment). Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None


       Insider's Name and Address and Relationship to Debtor               Dates             Amount     Reason for Payment




4.10    SAGE CAPITAL INVESTEMENTS, LLC                      10/31/2022                       $35,000   Board Fees
        BOARD MEMBER AFFILIATE (NEIL GOLDMAN)
        2407 S. CONGRESS AVE                                 12/1/2022                       $35,000   Board Fees
        STE. E-101
        AUSTIN, TX 78704     TOTAL SAGE CAPITAL INVESTEMENTS, LLC                            $70,000




                                                               Page 10 of 14 to Question 4
                      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 89 of 130

Core Scientific Operating Company                                                                               Case Number:               22-90343

       Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
filed on or after the date of adjustment). Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None


       Insider's Name and Address and Relationship to Debtor               Dates             Amount     Reason for Payment




4.11    STERLING, DENISE                                                 12/23/2021          $11,538   Salary
        CURRENT CHIEF FINANCIAL OFFICER
        2407 S. CONGRESS AVE                                              1/7/2022           $11,538   Salary
        STE. E-101                                                       1/18/2022               $0    Restricted Stock Unit Agreement (80,007 units /
        AUSTIN, TX 78704                                                                               options)
                                                                         1/21/2022           $11,538   Salary
                                                                          2/4/2022           $11,538   Salary
                                                                         2/18/2022           $11,538   Salary
                                                                          3/4/2022           $11,538   Salary
                                                                         3/18/2022           $11,538   Salary
                                                                         3/31/2022              $32    Expense Reimbursement
                                                                          4/1/2022           $11,538   Salary
                                                                         4/15/2022           $11,538   Salary
                                                                         4/29/2022           $11,538   Salary
                                                                         5/13/2022           $11,538   Salary
                                                                         5/27/2022           $11,538   Salary
                                                                         6/10/2022           $11,538   Salary
                                                                         6/24/2022           $11,538   Salary
                                                                          7/8/2022           $11,538   Salary
                                                                         7/22/2022           $11,538   Salary
                                                                          8/5/2022           $11,538   Salary
                                                                         8/15/2022               $0    Restricted Stock Unit Agreement (1,000,000
                                                                                                       units / options)
                                                                         8/19/2022           $11,538   Salary
                                                                          9/2/2022           $11,538   Salary
                                                                         9/16/2022           $11,538   Salary
                                                                         9/30/2022           $11,538   Salary
                                                                         10/14/2022          $11,538   Salary
                                                                         10/28/2022          $11,538   Salary
                                                                         11/10/2022          $11,538   Salary
                                                                         11/25/2022          $11,538   Salary


                                                               Page 11 of 14 to Question 4
                      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 90 of 130

Core Scientific Operating Company                                                                                  Case Number:   22-90343

       Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
filed on or after the date of adjustment). Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None


       Insider's Name and Address and Relationship to Debtor               Dates               Amount      Reason for Payment




                                                                         12/9/2022             $11,538    Salary
                                                                         12/23/2022            $11,538    Salary
                                                                         12/23/2022            $50,000    Retention Bonus

                                                  TOTAL STERLING, DENISE                      $361,570


4.12    STONE TOWER AIR LLC                                              12/27/2021           $287,200    Travel Expense
        BOARD MEMBER/OFFICER AFFILIATE (MICHAEL LEVITT)
        2407 S. CONGRESS AVE                                             1/18/2022             $48,000    Travel Expense
        STE. E-101                                                       3/28/2022            $109,600    Travel Expense
        AUSTIN, TX 78704
                                                                         4/18/2022            $279,200    Travel Expense
                                                                         6/13/2022            $241,600    Travel Expense
                                                                         6/27/2022            $210,400    Travel Expense
                                                                         8/15/2022            $193,600    Travel Expense
                                                                         8/22/2022            $103,200    Travel Expense
                                                                         10/18/2022           $173,600    Travel Expense

                                             TOTAL STONE TOWER AIR LLC                       $1,646,400




                                                               Page 12 of 14 to Question 4
                      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 91 of 130

Core Scientific Operating Company                                                                                Case Number:               22-90343

       Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
filed on or after the date of adjustment). Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None


       Insider's Name and Address and Relationship to Debtor               Dates             Amount      Reason for Payment




4.13    TRZUPEK, MICHAEL                                                 12/23/2021           $11,538   Salary
        FORMER CHIEF FINANCIAL OFFICER
        2407 S. CONGRESS AVE                                              1/7/2022            $11,538   Salary
        STE. E-101                                                       1/21/2022            $11,538   Salary
        AUSTIN, TX 78704
                                                                          2/4/2022            $11,538   Salary
                                                                          2/8/2022               $22    Expense Reimbursement
                                                                         2/18/2022            $11,538   Salary
                                                                          3/2/2022               $65    Expense Reimbursement
                                                                          3/4/2022            $11,538   Salary
                                                                         3/18/2022            $11,538   Salary
                                                                         3/18/2022               $96    Expense Reimbursement
                                                                          4/1/2022            $11,538   Salary
                                                                          4/7/2022               $62    Expense Reimbursement
                                                                         4/15/2022            $11,538   Salary
                                                                         4/18/2022              $125    Expense Reimbursement
                                                                         4/29/2022            $11,538   Salary
                                                                         5/13/2022            $11,538   Salary
                                                                         5/13/2022            $75,000   Severance

                                                 TOTAL TRZUPEK, MICHAEL                      $202,294


4.14    YOUNGBLOOD, KNEELAND                                             1/19/2022                $0    Restricted Stock Unit Agreement (400,038 units /
        CURRENT BOARD MEMBER                                                                            options)
        2407 S. CONGRESS AVE
                                                                         2/22/2022            $47,500   Board Fees
        STE. E-101
        AUSTIN, TX 78704                                                  4/4/2022            $47,500   Board Fees
                                                                          7/6/2022            $47,500   Board Fees
                                                                         10/3/2022            $47,500   Board Fees

                                          TOTAL YOUNGBLOOD, KNEELAND                         $190,000




                                                               Page 13 of 14 to Question 4
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 92 of 130

Core Scientific Operating Company                                                                          Case Number:     22-90343

    Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of
the insider is less than $7,575 (this amount may be adjusted on 04/01/25 and every 3 years after that with respect to cases
filed on or after the date of adjustment). Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
    None


    Insider's Name and Address and Relationship to Debtor               Dates               Amount     Reason for Payment




                                                                   TOTAL                  $5,026,469




                                                            Page 14 of 14 to Question 4
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 93 of 130

Core Scientific Operating Company                                                                 Case Number:             22-90343


       Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property
repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do
not include property listed in line 6.
       None


 Creditor's Name and Address                   Description of the Property                   Date Action         Value of Property
                                                                                             was Taken


5. 1   NONE                                                                                                                      $0


                                                                                                           TOTAL                 $0




                                                        Page 1 of 1 to Question 5
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 94 of 130

Core Scientific Operating Company                                                                       Case Number:            22-90343

    Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took
anything from an account of the debtor without permission or refused to make a payment at the debtor's direction from an
account of the debtor because the debtor owed a debt.
    None


 Creditor's Name and Address                         Description of Action Creditor Took    Date Action        Account           Amount
                                                                                               Taken           Number


6. 1 JONATHAN BARRETT 2012 IRREVOCABLE             CASHED SETTLEMENT CHECK BUT               10/28/2022                          $215,556
     TRUST                                         STILL PURSUED DISSENTER’S RIGHTS
     10845 GRIFFITH PEAK DRIVE, SUITE 600, LAS     CLAIM AGAINST DEBTOR
     VEGAS, NV 89135

6. 2 PRIORITY POWER MANAGEMENT LLC                 RETAINED EQUIPMENT OF DEBTOR               2022                             $20,000,000
     2201 E LAMAR BLVD, SUITE 275, ARLINGTON,
     TX 76006

6. 3 PRIORITY POWER MANAGEMENT LLC                 RETAINED FUNDS ERCOT SENT TO               9/22/2022                          $514,510
     2201 E LAMAR BLVD, SUITE 275, ARLINGTON,      PRIORITY TO DELIVER TO DEBTOR
     TX 76006

6. 4 SHELL ENERGY SOLUTIONS                        DID NOT INCLUDE THE DEBTOR’S CRR           12/2022                                 $7,000
     21 WATERWAY AVENUE, SUITE 450, THE            (CONGESTION REVENUE RIGHTS)
     WOODLANDS, TX 77380                           CREDIT



                                                                                                               TOTAL           $20,737,066




                                                          Page 1 of 1 to Question 6
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 95 of 130

Core Scientific Operating Company                                                                    Case Number:          22-90343

      Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the
debtor was involved in any capacity - within 1 year before filing this case.
      None


 Caption of Suit and Case Number           Nature of Proceeding                Court or Agency and Address    Status of Case



7.1   MEI PANG VS. CORE SCIENTIFIC,      LITIGATION                          US DISTRICT COURT, WESTERN      ONGOING
      INC. ET AL.                                                            DISTRICT OF TEXAS
      22-CV-01191                                                            501 WEST FIFTH STREET, SUITE
                                                                             1100, AUSTIN, TX 78701




                                                       Page 1 of 1 to Question 7
                                      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 96 of 130

Core Scientific Operating Company                                                                                                         Case Number:            22-90343

       Part 3:    Legal Actions or Assignments


8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver,
custodian, or other court-appointed officer within 1 year before filing this case.

      None


 Custodian's Name and Address                  Court Name and Address           Case Title and Number             Date        Description of Property                 Value



8.1    NONE




                                                                            Page 1 of 1 to Question 8
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 97 of 130

Core Scientific Operating Company                                                               Case Number:        22-90343


      Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
aggregate value of the gifts to that recipient is less than $1,000
       None


 Recipient’s Name and Address                          Recipient’s         Description of the     Dates Given       Value
                                                      Relationship to          Gifts or
                                                          Debtor             Contributions



9.1   NONE




                                                     Page 1 of 1 to Question 9
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 98 of 130

Core Scientific Operating Company                                                                          Case Number:                        22-90343


       Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None


 Description of Property                   How Loss Occurred                         Amount of                      Date of            Property Value
                                                                                  Payments Received                  Loss


                                                                                   If you have received payments to cover the loss, for example, from
                                                                                    insurance, govertnment compensation, or tort liability, list the total
                                                                                  received. List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                                                 Assets - Real and Personal Property).


10.1    NONE                                                                                                                                Undetermined


                                                                                                                        TOTAL              Undetermined




                                                     Page 1 of 1 to Question 10
                                        Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 99 of 130


Core Scientific Operating Company                                                                                                              Case Number:            22-90343


       Part 6:     Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

         None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value



11.1    ALIXPARTNERS LLP                                                                                                                        11/23/2022           $350,000
        909 THIRD AVENUE
        NEW YORK, NY 10022


11.2    ALIXPARTNERS LLP                                                                                                                        11/15/2022           $200,000
        909 THIRD AVENUE
        NEW YORK, NY 10022


11.3    ALIXPARTNERS LLP                                                                                                                        12/16/2022           $100,000
        909 THIRD AVENUE
        NEW YORK, NY 10022


11.4    ALIXPARTNERS LLP                                                                                                                        12/8/2022            $300,000
        909 THIRD AVENUE
        NEW YORK, NY 10022


11.5    PJT PARTNERS LP                                                                                                                         11/29/2022           $200,000
        280 PARK AVENUE
        NEW YORK, NY 10017


11.6    PJT PARTNERS LP                                                                                                                         11/21/2022           $200,000
        280 PARK AVENUE
        NEW YORK, NY 10017




                                                                        Page 1 of 5 to Question 11
                                       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 100 of 130


Core Scientific Operating Company                                                                                                              Case Number:            22-90343


       Part 6:     Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

         None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value



11.7    PJT PARTNERS LP                                                                                                                         11/21/2022           $242,742
        280 PARK AVENUE
        NEW YORK, NY 10017


11.8    PJT PARTNERS LP                                                                                                                         12/7/2022            $200,000
        280 PARK AVENUE
        NEW YORK, NY 10017


11.9    SCHEEF & STONE, LLP                                                                                                                     12/14/2022            $75,000
        500 NORTH AKARD STREET, SUITE 2700
        DALLAS, TX 75201


11.10 STRETTO, INC                                                                                                                              12/12/2022            $25,000
      410 EXCHANGE, SUITE 100
      IRVINE, CA 92602


11.11 WEIL GOTSHAL AND MANGES LLP                                                                                                               11/10/2022           $500,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.12 WEIL GOTSHAL AND MANGES LLP                                                                                                               10/25/2022           $500,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153




                                                                        Page 2 of 5 to Question 11
                                       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 101 of 130


Core Scientific Operating Company                                                                                                              Case Number:            22-90343


    Part 6:        Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

      None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value



11.13 WEIL GOTSHAL AND MANGES LLP                                                                                                               11/18/2022           $450,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.14 WEIL GOTSHAL AND MANGES LLP                                                                                                               11/7/2022            $750,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.15 WEIL GOTSHAL AND MANGES LLP                                                                                                               10/18/2022          $1,000,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.16 WEIL GOTSHAL AND MANGES LLP                                                                                                               10/17/2022           $500,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.17 WEIL GOTSHAL AND MANGES LLP                                                                                                               11/18/2022           $450,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.18 WEIL GOTSHAL AND MANGES LLP                                                                                                               11/30/2022           $400,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153




                                                                        Page 3 of 5 to Question 11
                                       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 102 of 130


Core Scientific Operating Company                                                                                                              Case Number:            22-90343


    Part 6:        Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

      None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value



11.19 WEIL GOTSHAL AND MANGES LLP                                                                                                               12/12/2022           $750,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.20 WEIL GOTSHAL AND MANGES LLP                                                                                                               12/16/2022          $1,000,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.21 WEIL GOTSHAL AND MANGES LLP                                                                                                               12/19/2022           $500,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.22 WEIL GOTSHAL AND MANGES LLP                                                                                                               12/20/2022           $300,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153


11.23 WEIL GOTSHAL AND MANGES LLP                                                                                                               10/28/2022          $1,000,000
      767 FIFTH AVENUE
      NEW YORK, NY 10153




                                                                        Page 4 of 5 to Question 11
                                       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 103 of 130


Core Scientific Operating Company                                                                                                              Case Number:            22-90343


    Part 6:        Certain Payments or Transfers


11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

      None


 Who was Paid or Who Received the Transfer?               Email / Website               Who Made the Payment,     If not Money, Describe any      Dates       Total Amount or
 Address                                                                                if not Debtor?            Property Transferred                        Value




                                                                        Page 5 of 5 to Question 11
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 104 of 130

Core Scientific Operating Company                                                              Case Number:             22-90343


       Part 6:     Certain Payments or Transfers

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years
before the filing of this case to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

        None


  Name of Trust or Device       Trustee                Describe any Property Transferred   Dates Transfers   Total Amount / Value
                                                                                           were Made


12.1    NONE                                                                                                                $0




                                                     Page 1 of 1 to Question 12
                 Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 105 of 130

Core Scientific Operating Company                                                                  Case Number:             22-90343


    Part 6:        Certain Payments or Transfers

13. Transfers not already listed on this statement

List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on
behalf of the debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary
course of business or financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or
transfers previously listed on this statement.
    None


 Name and Address of Transferee, Relationship to Debtor           Description of Property            Date Transfer     Total Amount
                                                                                                      was Made           or Value


13. 1 NONE                                                                                                                        $0



                                                                                                       TOTAL                      $0




                                                          Page 1 of 1 to Question 13
                         Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 106 of 130

Core Scientific Operating Company                                                                          Case Number:      22-90343


        Part 7:           Previous Locations

14. Previous addresses

List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

        Does not apply


 Address                                                                              Dates of Occupancy



 14.1       210 BARTON SPRINGS ROAD, SUITE 300, AUSTIN, TX 78701                  From:         3/1/2022    To:   CURRENT



 14.2       2800 NORTHRUP WAY, SUITE 200, BELLEVUE, WA 98004                      From:        6/27/2018    To:   6/1/2021




                                                         Page 1 of 1 to Question 14
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 107 of 130

Core Scientific Operating Company                                                                            Case Number:          22-90343


       Part 8:         Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

        No. Go to Part 9.
        Yes. Fill in the information below.


 Facility Name and Address                        Nature of the Business       Location Where Patient          If Debtor        How are
                                                  Operation, Including         Records are Maintained          Provides Meals   Records
                                                  Type of Services the         (if Different from Facility     and Housing,     Kept?
                                                  Debtor Provides              Address). If Electronic,        Number of
                                                                               Identify any Service            Patients in
                                                                               Provider.                       Debtor’s Care


15.1    NONE                                                                                                                      Electronic
                                                                                                                                  Paper




                                                         Page 1 of 1 to Question 15
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 108 of 130

Core Scientific Operating Company                                                              Case Number:   22-90343


    Part 9:         Personally Identifiable Information


16. Does the debtor collect and retain personally identifiable information of customers?
     No.
     Yes. State the nature of the information collected and retained.   Billing Address; TIN

       Does the debtor have a privacy policy about that information?
              No
              Yes




                                                                Page 1 of 1 to Question 16
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 109 of 130

Core Scientific Operating Company                                                           Case Number:       22-90343


    Part 9:          Personally Identifiable Information

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k),
403(b), or other pension or profit-sharing plan made available by the debtor as an employee benefit?

   No. Go to Part 10.

   Yes. Does the debtor serve as plan administrator?

         No. Go to Part 10.
         Yes. Fill in below:

         Describe:       401(K) Savings Plan                                        EIN:   XX-XXXXXXX

         Has the plan been terminated?
            No
            Yes




                                                       Page 1 of 1 to Question 17
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 110 of 130

Core Scientific Operating Company                                                                 Case Number:            22-90343


       Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts

Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's
benefit, closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit
unions, brokerage houses, cooperatives, associations, and other financial institutions.
       None


 Financial Institution Name and Address         Last 4 Digits of     Type of Account                  Date of Closing      Last
                                                 Acct Number                                                              Balance


18.1    NONE




                                                       Page 1 of 1 to Question 18
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 111 of 130

Core Scientific Operating Company                                                                Case Number:             22-90343

    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1
year before filing this case.

        None


  Depository Institution Name and Address      Names of Anyone with Access to it and   Description of the        Does Debtor still
                                               Address                                 Contents                  have it?



19. 1   NONE                                                                                                             No
                                                                                                                         Yes




                                                      Page 1 of 1 to Question 19
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 112 of 130

Core Scientific Operating Company                                                                   Case Number:              22-90343


    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in
a part of a building in which the debtor does business.

         None


  Facility Name and Address                      Names of Anyone            Address               Description of the     Does Debtor
                                                 with Access to it                                Contents               still have it?




 20. 1    CDS WAREHOUSE                        BRAD WALTON                1525 W SMITH FERRY     4000 AMP                   No
          1900 NORTH STREET                                               RD                     SWITCHGEAR
                                                                                                                            Yes
          MUSKOGEE, OK 74403                                              MUSKOGEE, OK 74401     SECTIONS
                                                                                                 (QUANTITY: 104)




                                                        Page 1 of 1 to Question 20
                 Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 113 of 130

Core Scientific Operating Company                                                                 Case Number:           22-90343


    Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored
for, or held in trust. Do not list leased or rented property.

        None

  Owner’s Name and Address                             Location of the Property     Description of the          Value
                                                                                    Property


 21.1   NONE




                                                      Page 1 of 1 to Question 21
                       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 114 of 130

Core Scientific Operating Company                                                                    Case Number:             22-90343

        Part 12:         Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous
   material, regardless of the medium affected (air, land, water, or any other medium).
   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that
   the debtor formerly owned, operated, or utilized.
   Hazardous material means anything than an environmental law defines as hazardous or toxic, or describes as a pollutant,
   contaminant, or a similary harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include
settlements and orders.
         No
         Yes. Provide details below.


 Case Title and Case Number                     Court or Agency Name and Address     Nature of Proceeding            Status



22. 1    NONE




                                                        Page 1 of 1 to Question 22
                                       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 115 of 130

 Core Scientific Operating Company                                                                                                          Case Number:             22-90343


    Part 12:         Details About Environmental Information

For the purpose of Part 12, the followig definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
   affected (air, land, water, or any other medium).

   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
   or utilized.
   Hazardous material means anything than an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similary harmful
   substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable under or in violation of an environmental law?

   No
   Yes. Provide details below.


 Site Name and Address                             Governmental Unit Name and Address                    Environmental Law, if Known                           Date of Notice



23. 1 NONE




                                                                            Page 1 of 1 to Question 23
                                       Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 116 of 130

Core Scientific Operating Company                                                                                                          Case Number:              22-90343


   Part 12:          Details About Environmental Information


For the purpose of Part 12, the followig definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
   affected (air, land, water, or any other medium).

   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
   or utilized.
   Hazardous material means anything than an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similary harmful
   substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

24. Has the debtor notified any governmental unit of any release of hazardous material?
   No
   Yes. Provide details below.

 Site Name and Address                          Governmental Unit Name and Address                       Environmental Law, if Known                            Date of Notice



24.1 NONE




                                                                            Page 1 of 1 to Question 24
      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 117 of 130




See organizational charts attached below.
                                                                                         Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 118 of 130

      ĞďƚŽƌ^ƚĂƚƵƐ
      сĞďƚŽƌ
                                 Symbol Legend

          Borrower under the B. Riley Notes


          Issuer under the Convertible Notes


           Guarantor under the Convertible Notes


          Borrower under the Equipment Leases and Loans
                                                                                                                                                                                                                         DE

          Borrower under the Facility Mortgages                                                                                                                                            Core Scientific, Inc.
                                                                                                                                                                                                                                                                                                            ABD                                                  KY
                                                                                                                                                                                    (fka Power & Digital Infrastructure
                                                                                                                                                                                            Acquisition Corp.)                                                                   Core Scientific, Inc. – Branch                   CSP Liquid Opportunities
          Entity changed name at January 20, 2022 merger                                                                                                                                                                                                                                 (Abu Dhabi)                            Offshore Fund (Exempted Ltd)
                                                                                                                                                                                                                                                                                   *Provisional License not                           *Affiliated entity
                                                                                                                                                                                                                                                                                       separate entity
          Party to operations, service, customer and
          vendor Ăgreements entered into pre de-SPAC*
          *Available in the data room, except Amended and Restated Electric Service
          Agreements, dated as of October 11, 2018, by and between American Property
          Acquisitions, LLC VI/VII and Dalton Utilities

          Party to operations, service, customer and
          vendor Ăgreements entered into post de-SPAC*
          *Available in the data room




State of Formation/Incorporation
(as shown at top right corner of each box)
                                                                                                     DE                                                                  DE
                                                                                                                                                                                                                              dy                                                                                   DE
ABD = Abu Dhabi                                                             Core Scientific Acquired                                               Core Scientific                               ŽƌĞ^ĐŝĞŶƚŝĨŝĐDŝŶŝŶŐ>>                                                               Core Scientific Partners GP,
CO= Colorado                                                                      Mining LLC                                                  Operating Company
                                                                                                                                                                                                                                                                                                 LLC (SMLLC)
DE= Delaware                                                              (Acquirer of Blockcap, Inc.)                                      (fka Core Scientific, Inc.)
GA = Georgia
KY = Cayman Islands
dyсdĞǆĂƐ


                                                                                                                                                                                                                               >ŝŵŝƚĞĚ                           General
                                                                                                                                                                                                                               Partner                           Partner                                                                 General Partner


                                                                                                                                    DE                                                            DE                                                                        DE
                                                           Radar Relay, Inc.                              Core Scientific Specialty Mining                                                                                               Core Scientific Partners, LP
                                                        (fka Radar Relay, LLC)                                                                                             American Property Acquisition,
                                                                                                                  (Oklahoma) LLC
                                                                                                                                                                                       LLC
                                                                                                            (fka GPU One Holdings, LLC)




                                                                                                                                                                                                                                                                                                                                  >ŝŵŝƚĞĚ
                                                                                                                                                                                                                                                                                                                                  Partner




                           CO                                                                CO                                                    NC                                                                                        GA                                                DE                                                                 DE
                                                                                                                                                                                                                                                                           CSP Advisors, LLC (SMLLC)                                   CSP Liquid Opportunities GP, LP
 Starboard Capital LLC                                                       RADAR LLC                                American Property Acquisitions I,                                                        American Property Acquisitions
                                                                                                                                   LLC                                                                                    VII, LLC




                                                                                                                                                                                                                                                                                                                     General Partner                          General Partner



                                                                                                                                                                                                                                                                                                                                                       DE
                                                                                                                                                                                                                                               >ŝŵŝƚĞĚ Partner                                                       CSP Liquid Opportunities
                                                                                                                                                                                                                                                                                                                             Fund, LP


                                                                                                                                                                                                                                                                                                                                                                                         KY
                                                                                                                                                                                                                                                                                                                                                              CSP Liquid Opportunities
                                                                                                                                                                                                                                                                                                                     >ŝŵŝƚĞĚ Partner
                                                                                                                                                                                                                                                                                                                                                                  Master Fund, LP
As of 7/2/2019                      Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 119 of 130



                                                                    Core Scientific, Inc. DE C-Corp

                100%                                       100%                                   100%                                     100%                            100%

                                                                                                                                                              MPools Special Situations,
    American Special                                                             American Hosting & Co-                   American Property
                                         IP Special Holdings, LLC                                                                                                       LLC
Transactions, LLC (DE LLC)                                                        Location Services, LLC                   Acquisitions, LLC
                                                 (DE LLC)                                                                                                             NV LLC
     Dissolved 7.16.19                                                                   NV LLC                                DE LLC                               Dissolved 2.17.19




               100%                               100%                           100%                             100%                             100%                          100%

  American Special                 American Special                    Blockchain                   Hosting & Co-
                                                                  Equipment Solutions,            Location Services I,            MPools Services, LLC              Mpools IP, LLC
 Transactions I, LLC              Transactions II, LLC
                                                                          LLC                            LLC                           NV LLC                         NV LLC
      (DE LLC)                         (DE LLC)                                                                                       Dissolved 2.15.19             Dissolved 2.15.19
   Dissolved 7.16.19                Dissolved 7.16.19                    NV LLC                         NV LLC




                       100%                              100%                           100%                             100%                             100%

     155 Palmer Lane, LLC               Harshaw Road, LLC                 199 Cline Park, LLC
                                                                                                           American Property                  American Property
      American Property                 American Property                 American Property
                                                                                                           Acquisitions IV, LLC               Acquisitions V, LLC
      Acquisitions I, LLC               Acquisitions II, LLC              Acquisitions III, LLC
                                                                                                                 SC LLC                            SC LLC
            NC LLC                           NC LLC                             NC LLC

                                     100%                              100%                              100%                              100%                             100%


                       American Property                 American Property                American Property                American Property                 372 Wildwood Road,
                       Acquisitions VI, LLC              Acquisitions VII, LLC           Acquisitions VIII, LLC            Acquisitions IX, LLC                      LLC
                          (Georgia LLC                      (Georgia LLC)                    (Ohio LLC)                       (Ohio LLC)                           NC LLC
                                                                                             Dissolved 7.2.19                   Dissolved 7.2.19
                Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 120 of 130

Core Scientific Operating Company                                                             Case Number:            22-90343


   Part 13:      Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

     None


 Name and Address                                                                           Dates of Service



 26a.1   NONE                                                                              From:                To:




                                                    Page 1 of 1 to Question 26a.
                Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 121 of 130


Core Scientific Operating Company                                                              Case Number:             22-90343


   Part 13:      Details About the Debtor's Business or Connections to Any Business


26. Books, records, and financial statements

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
financial statement within 2 years before filing this case.

      None


  Name and Address                                                                           Dates of Service



  26b.1 ERNST & YOUNG, LLP                                                                 From:       2018      To:   10/28/2022
        200 PLAZA DRIVE
        SECAUCUS, NJ 07094

  26b.2 MARCUM, LLP                                                                        From:    10/24/2022   To:   CURRENT
        777 S. FIGUEROA STREET
        SUITE 2900
        LOS ANGELES, CA 90017




                                                    Page 1 of 1 to Question 26b.
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 122 of 130


Core Scientific Operating Company                                                                Case Number:               22-90343


    Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements
26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

         None


  Name and Address                                                                      If any Books of Account and Records are
                                                                                        Unavailable, Explain Why


 26c.1    STERLING, DENISE (CHIEF FINANCIAL OFFICER)
          2407 S. CONGRESS AVE
          STE. E-101
          AUSTIN, TX 78704




                                                       Page 1 of 1 to Question 26c.
                 Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 123 of 130

Core Scientific Operating Company                                                                  Case Number:             22-90343


    Part 13:      Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements
26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor
issued a financial statement within 2 years before filing this case.

      None


 Name and Address



  26d.1   NONE




                                                       Page 1 of 1 to Question 26d.
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 124 of 130

Core Scientific Operating Company                                                                              Case Number:      22-90343


    Part 13:         Details About the Debtor's Business or Connections to Any Business


27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      No
      Yes. Give the details about the two most recent inventories.


 Name of the Person who                     Name and Address of the Person           Date of Inventory   Dollar Amount   Basis
 Supervised the Taking of the               who has Possession of Inventory
 Inventory                                  Records


 27. 1 NONE




                                                                 Page 1 of 1 to Question 27
                  Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 125 of 130

Core Scientific Operating Company                                                        Case Number:                 22-90343


    Part 13:       Details About the Debtor's Business or Connections to Any Business

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling
shareholders, or other people in control of the debtor at the time of the filing of this case.

  Name and Address                          Positition and Nature of any Interest       Percent of Interest, if any



28. 1   CORE SCIENTIFIC, INC.              DEBTOR PARENT                                100.00%
        2407 S. CONGRESS AVE
         STE. E-101
        AUSTIN, TX 78704
28. 2   DUCHENE, TODD                      EVP, GENERAL COUNSEL, CHIEF COMPLIANCE
        2407 S. CONGRESS AVE               OFFICER AND SECRETARY
         STE. E-101
        AUSTIN, TX 78704
28. 3   LEVITT, MICHAEL                    CHIEF EXECUTIVE OFFICER
        2407 S. CONGRESS AVE
         STE. E-101
        AUSTIN, TX 78704
28. 4   STERLING, DENISE                   SVP, CORPORATE FINANCE
        2407 S. CONGRESS AVE
         STE. E-101
        AUSTIN, TX 78704




                                                   Page 1 of 1 to Question 28
                     Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 126 of 130

Core Scientific Operating Company                                                           Case Number:              22-90343

        Part 13:       Details About the Debtor's Business or Connections to Any Business

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general
partners, members in control of the debtor, or shareholders in control of the debtor who no longer hold these
positions?
    No
    Yes. Identify below.


 Name and Address                               Position and Nature of Interest     Period During Which Position Was Held



29. 1    NEVILLE, BRIAN                        FORMER CHIEF ACCOUNTING OFFICER      From:    1/20/2022   To:   10/29/2022
         2407 S. CONGRESS AVE
         STE. E-101
         AUSTIN, TX 78704



29. 2    ORLOPP, SHARON                        FORMER CHIEF HUMAN RESOURCE          From:    7/14/2021   To:    12/6/2022
         2407 S. CONGRESS AVE                  OFFICER
         STE. E-101
         AUSTIN, TX 78704



29. 3    TRZUPEK, MICHAEL                      FORMER CHIEF FINANCIAL OFFICER       From:    1/28/2022   To:    4/4/2022
         2407 S. CONGRESS AVE
         STE. E-101
         AUSTIN, TX 78704




                                                       Page 1 of 1 to Question 29
                        Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 127 of 130

Core Scientific Operating Company                                                                     Case Number:                 22-90343

        Part 13:          Details About the Debtor's Business or Connections to Any Business

30. Payments, Distributions, or Withdrawals Credited or Given to Insiders

 Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other
 compensation, draws, bonuses, loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.


  Name and Address of Recipient and Relationship to Debtor               Amount           Dates   Reason for Providing the Value



30.1        NONE



                                                   TOTAL                       $0




                                                   TOTAL                       $0




                                                             Page 1 of 1 to Question 30
                   Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 128 of 130

Core Scientific Operating Company                                                                 Case Number:            22-90343


    Part 13:         Details About the Debtor's Business or Connections to Any Business

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
   No
   Yes. Identify below.


Name of Parent Corporation                                     Employer Identification Number of the Parent Corporation



31. 1   CORE SCIENTIFIC, INC                                     EIN:    XX-XXXXXXX




                                                   Page 1 of 1 to Question 31
                    Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 129 of 130

Core Scientific Operating Company                                                                Case Number:        22-90343

    Part 13:          Details About the Debtor's Business or Connections to Any Business

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a
pension fund?
   No
   Yes. Identify below.


 Name of Pension Fund                                           Employer Identification Number of the Pension Fund



32. 1   NONE                                                           EIN:




                                                    Page 1 of 1 to Question 32
               Case 22-90341 Document 491 Filed in TXSB on 02/06/23 Page 130 of 130


Core Scientific Operating Company                                                                Case Number:               22-90343

    Part 14:         Signature and Declaration

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a resonable belief that the
information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on:         February 6, 2023




Signature: /s/ Michael Bros                                    Michael Bros, Senior Vice President of Capital Markets & Acquisitions
                                                               Name and Title




Are additional pages to the Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?


  X No

      Yes
